            Case 17-00203-5-JNC                   Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                  Page 1 of 68

Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NORTH CAROLINA - WILMINGTON DIVISION

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Sound Medical Supply Partners, LLC

2.   All other names debtor
     used in the last 8 years
                                  DBA Sound Medical
     Include any assumed          DBA Sound Medical Supply
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1930 Oleander Drive
                                  Wilmington, NC 28403
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  New Hanover                                                     Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
            Case 17-00203-5-JNC                       Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                       Page 2 of 68
Debtor    Sound Medical Supply Partners, LLC                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
           Case 17-00203-5-JNC                    Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                      Page 3 of 68
Debtor   Sound Medical Supply Partners, LLC                                                        Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
           Case 17-00203-5-JNC                   Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                     Page 4 of 68
Debtor    Sound Medical Supply Partners, LLC                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 13, 2017
                                                  MM / DD / YYYY


                             X   /s/ D. Read Patterson, II                                                D. Read Patterson, II
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO and Managing Member




18. Signature of attorney    X   /s/ Trawick H. Stubbs, Jr.                                                Date January 13, 2017
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Trawick H. Stubbs, Jr.
                                 Printed name

                                 Stubbs & Perdue, P.A.
                                 Firm name

                                 PO Box 1654
                                 New Bern, NC 28563
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     252-633-2700                  Email address


                                 4221
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
         Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                           Page 5 of 68




 Fill in this information to identify the case:

 Debtor name         Sound Medical Supply Partners, LLC

                                                    EASTERN DISTRICT OF NORTH CAROLINA - WILMINGTON
 United States Bankruptcy Court for the:            DIVISION

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          January 13, 2017                        X /s/ D. Read Patterson, II
                                                                       Signature of individual signing on behalf of debtor

                                                                       D. Read Patterson, II
                                                                       Printed name

                                                                       CEO and Managing Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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              Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                             Page 6 of 68


 Fill in this information to identify the case:
 Debtor name Sound Medical Supply Partners, LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NORTH                                                                                    Check if this is an
                                                CAROLINA - WILMINGTON
                                                DIVISION
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Capacity Funding,                                               Merchant cash                                      $385,055.21                        $0.00            $385,055.21
 LLC                                                             advance-blanket
 Attn: Manager or                                                lien
 Agent
 7 Renaissance Sq.,
 5th Fl.
 White Plains, NY
 10601
 Platinum Rapid                                                  Blanket lien                                       $341,942.76                        $0.00            $341,942.76
 Funding                         abartone@platinumr
 Group, Ltd.                     fg.com
 Attn: Manager or
 Agent
 348 RXR Plaza
 Uniondale, NY 11556
 NDC, Inc.                                                                                                                                                              $312,940.55
 Attn: Manager or
 Agent
 407 New Sanford
 Road
 La Vergne, TN 37086
 Kings Cash Group                                                Blanket lien                                       $154,564.00                        $0.00            $154,564.00
 Attn: Manager or                ingo@kingscashgro
 Agent                           up.com
 30 Broad Street, 12th
 Floor
 New York, NY 10001
 Summit Financial                                                Blanket lien                                       $690,561.00               $543,028.74               $147,532.26
 Resources, LP                                                   (Inventory, A/R,
 Attn: Manager or                                                Equipment)
 Agent
 2455 E. Parleys Way
 Ste 200
 Salt Lake City, UT
 84109




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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              Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                             Page 7 of 68


 Debtor    Sound Medical Supply Partners, LLC                                                                 Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Merchant Funding                                                Blanket lien                                       $126,549.00                        $0.00            $126,549.00
 Svcs., LLC
 Attn: Manager or
 Agent
 One Evertrust Plaze,
 Ste 1401
 Jersey City, NJ 07302
 American Express                                                                                                                                                         $65,000.00
 Attn: Manager or
 Agent
 P.O. Box 981540
 El Paso, TX
 79998-1540
 N.C. Dept. of                                                   NC Sales Tax                                                                                             $62,113.87
 Revenue
 ATTN: Officer
 Office Svcs Div,
 Bankruptcy Un
 P. O. Box 1168
 Raleigh, NC
 27602-1168
 Insource                                                                                                                                                                 $34,082.70
 Attn: Manager or
 Agent
 Box 382023
 Pittsburgh, PA
 15250-2028
 Federal Express                                                                                                                                                          $32,396.62
 Corporation
 Attn: Manager or
 Agent
 P.O. Box 223125
 Pittsburgh, PA 15251
 Medworld Supply, Inc.                                                                                                                                                    $31,136.37
 Attn: Manager or
 Agent
 168 10th Street
 Brooklyn, NY 11215
 Henry Schein, Inc.                                              Inventory                                                                                                $28,952.42
 c/b/a InSource
 Attn: Manager or
 Agent
 Dept CH 10560
 Palatine, IL 60055
 BMW Bank of North                                               2013 BMW, VIN                                       $57,152.22                 $29,100.00                $28,052.22
 America                                                         53186
 Attn: Manager or
 Agent
 P.O. Box 78066
 Phoenix, AZ
 85062-8066



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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              Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                             Page 8 of 68


 Debtor    Sound Medical Supply Partners, LLC                                                                 Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Ally Financial                                                  2015 Nissan                                         $24,658.43                 $15,400.00                $24,658.43
 Attn: Managing Agent                                            Delivery Van, VIN
 P. O. Box 380901                                                33150
 Bloomington, MN
 55438
 US Diagnostics                                                                                                                                                           $19,844.63
 Attn: Manager or
 Agent
 P.O. Box 5531
 Carol Stream, IL
 60197-5531
 Epicor Software                                                                                                                                                          $18,071.50
 Corporation
 Attn: Manager or
 Agent
 P.O. Box 671069
 Dallas, TX 75267
 MedChain Supply                                                                                                                                                          $16,483.72
 Attn: Manager or
 Agent
 P.O. Box 842818
 Boston, MA
 02284-2818
 Capital One Spark                                                                                                                                                        $10,990.00
 Attn: Manager or
 Agent
 P.O. Box 71083
 Charlotte, NC
 28272-1083
 N.C. Dept. of                                                   Penalty                                                                                                  $10,173.95
 Revenue
 ATTN: Officer
 Office Svcs Div,
 Bankruptcy Un
 P. O. Box 1168
 Raleigh, NC
 27602-1168
 Cardinal Health                                                                                                                                                            $9,642.00
 Attn: Manager or
 Agent
 P.O.Box 730112
 Dallas, TX 75373




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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           Case 17-00203-5-JNC                                     Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                                                      Page 9 of 68
 Fill in this information to identify the case:

 Debtor name            Sound Medical Supply Partners, LLC

                                                               EASTERN DISTRICT OF NORTH CAROLINA - WILMINGTON
 United States Bankruptcy Court for the:                       DIVISION

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           597,961.52

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           597,961.52


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        1,805,749.37


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            87,544.97

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           851,127.44


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           2,744,421.78




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
         Case 17-00203-5-JNC                          Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                              Page 10 of 68
 Fill in this information to identify the case:

 Debtor name         Sound Medical Supply Partners, LLC

                                                    EASTERN DISTRICT OF NORTH CAROLINA - WILMINGTON
 United States Bankruptcy Court for the:            DIVISION

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     First Citizens Bank                                     Checking - Operating            7620                                       $524.85




           3.2.     First Citizens Bank                                     Checking                        3565                                       $432.93




           3.3.     Vantiv Integrated Payment Solutions                     Merchant                        0886                                             $0.00




           3.4.     American Express Merchant                               Merchant                        9992                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                        $957.78
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                   Page 11 of 68

 Debtor           Sound Medical Supply Partners, LLC                                                  Case number (If known)
                  Name



 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Security deposit paid to Columbus Properties, LLC                                                                                $3,750.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                                      $3,750.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                            249,729.68       -                             12,486.48 = ....                   $237,243.20
                                              face amount                               doubtful or uncollectible accounts




           11b. Over 90 days old:                                    16,621.82   -                           16,621.82 =....                               $0.00
                                              face amount                               doubtful or uncollectible accounts



           11b. Over 90 days old:                                     1,405.65   -                             1,405.65 =....                              $0.00
                                              face amount                               doubtful or uncollectible accounts



           11b. Over 90 days old:                               252,804.23       -                           12,640.21 =....                      $240,164.02
                                              face amount                               doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                                   $477,407.22
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last               Net book value of         Valuation method used     Current value of
                                                      physical inventory             debtor's interest         for current value         debtor's interest
                                                                                     (Where available)

 19.       Raw materials

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 2
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                            Page 12 of 68

 Debtor         Sound Medical Supply Partners, LLC                                               Case number (If known)
                Name

 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Inventory (value based
           upon 10% of cost)                          1/12/2017                                $0.00    Liquidation                         $55,476.82



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                             $55,476.82
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used     Current value of
                                                                                 debtor's interest      for current value         debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           Desks, chairs (value based upon 10% of cost)                                        $0.00    Liquidation                               $76.80



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Office equipment, 2-computers, 7-laptops, MiFi,
           Printer, IPad, other software (value based upon
           10% of cost)                                                                        $0.00    Liquidation                           $1,904.00


           Epicor software                                                                     $0.00                                           Unknown



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 3
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                         Page 13 of 68

 Debtor         Sound Medical Supply Partners, LLC                                            Case number (If known)
                Name


 43.       Total of Part 7.                                                                                                               $1,980.80
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
              No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used     Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value         debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2015 Nissan (Delivery) Van, VIN 33150
                     (loan value used)                                                      $0.00                                        $15,400.00


           47.2.     2013 BMW 750LI 4S, VIN 53186 (trade-in
                     value used)                                                            $0.00                                        $29,100.00


           47.3.     2008 Chevrolet Express Van, VIN 39622
                     (loan value used)                                                      $0.00                                          $5,725.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Warehouse equipment consisting of but not
           limited to Toyota Forklift S/N71957 and charger,
           Toyota Forklift S/N11164, Meculux Pallet Racking,
           Toyota Electric Order Picker S/N71986, Toyota
           Pallet Rack, Racking System, 24-Racking
           shelves, industrial service carts, beams/wire
           decks/uprights, refrigerator (value based upon
           10% of cost)                                                                     $0.00    Liquidation                           $8,163.90




 51.       Total of Part 8.                                                                                                          $58,388.90
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
              No
               Yes


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 4
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                         Page 14 of 68

 Debtor         Sound Medical Supply Partners, LLC                                            Case number (If known)
                Name

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used     Current value of
                                                                              debtor's interest      for current value         debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            www.sound-medical.com                                                           $0.00                                                $0.00



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                 $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 5
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         Case 17-00203-5-JNC                               Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                                Page 15 of 68

 Debtor          Sound Medical Supply Partners, LLC                                                                  Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                 $957.78

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $3,750.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $477,407.22

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $55,476.82

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $1,980.80

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $58,388.90

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $597,961.52           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $597,961.52




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 6
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                      Page 16 of 68
 Fill in this information to identify the case:

 Debtor name         Sound Medical Supply Partners, LLC

                                                    EASTERN DISTRICT OF NORTH CAROLINA - WILMINGTON
 United States Bankruptcy Court for the:            DIVISION

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Ally Financial                                 Describe debtor's property that is subject to a lien                   $24,658.43                $15,400.00
       Creditor's Name                                2015 Nissan Delivery Van, VIN 33150
       Attn: Managing Agent
       P. O. Box 380901
       Bloomington, MN 55438
       Creditor's mailing address                     Describe the lien
                                                      Lien on title
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3206
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   BMW Bank of North America                      Describe debtor's property that is subject to a lien                   $57,152.22                $29,100.00
       Creditor's Name                                2013 BMW, VIN 53186
       Attn: Manager or Agent
       P.O. Box 78066
       Phoenix, AZ 85062-8066
       Creditor's mailing address                     Describe the lien
                                                      Lien on title
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       4666
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 4
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                     Page 17 of 68
 Debtor       Sound Medical Supply Partners, LLC                                                       Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   Capacity Funding, LLC                          Describe debtor's property that is subject to a lien                     $385,055.21           $0.00
       Creditor's Name                                Merchant cash advance-blanket lien
       Attn: Manager or Agent
       7 Renaissance Sq., 5th Fl.
       White Plains, NY 10601
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       12/13/2016                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1556
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.4   Kings Cash Group                               Describe debtor's property that is subject to a lien                     $154,564.00           $0.00
       Creditor's Name                                Blanket lien
       Attn: Manager or Agent
       30 Broad Street, 12th Floor
       New York, NY 10001
       Creditor's mailing address                     Describe the lien
                                                      Security Agmt but no UCC-1 filed
                                                      Is the creditor an insider or related party?
       ingo@kingscashgroup.com                           No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5   LEAF Financial                                 Describe debtor's property that is subject to a lien                      $18,895.75      Unknown
       Creditor's Name                                Epicor Software
       Attn: Manager or Agent
       2005 Market Street, 14th Fl.
       Philadelphia, PA 19103
       Creditor's mailing address                     Describe the lien
                                                      UCC-1 Financing Statement
                                                      Is the creditor an insider or related party?
                                                         No



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 2 of 4
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                     Page 18 of 68
 Debtor       Sound Medical Supply Partners, LLC                                                       Case number (if know)
              Name

       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       4/20/2015                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8001
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.6   LEAF Financial                                 Describe debtor's property that is subject to a lien                       $6,371.00      Unknown
       Creditor's Name                                Epicor Software
       Attn: Manager or Agent
       2005 Market Street, 14th Fl.
       Philadelphia, PA 19103
       Creditor's mailing address                     Describe the lien
                                                      UCC-1 Financing Statement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       11/1/2015                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8001
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.7   Merchant Funding Svcs., LLC                    Describe debtor's property that is subject to a lien                     $126,549.00           $0.00
       Creditor's Name                                Blanket lien
       Attn: Manager or Agent
       One Evertrust Plaze, Ste
       1401
       Jersey City, NJ 07302
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.8   Platinum Rapid Funding                         Describe debtor's property that is subject to a lien                     $341,942.76           $0.00

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 3 of 4
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         Case 17-00203-5-JNC                          Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                      Page 19 of 68
 Debtor       Sound Medical Supply Partners, LLC                                                       Case number (if know)
              Name

        Creditor's Name                               Blanket lien
        Group, Ltd.
        Attn: Manager or Agent
        348 RXR Plaza
        Uniondale, NY 11556
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
        abartone@platinumrfg.com                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        11/3/2016                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



        Summit Financial Resources,
 2.9                                                                                                                           $690,561.00         $543,028.74
        LP                                            Describe debtor's property that is subject to a lien
        Creditor's Name                               Blanket lien (Inventory, A/R, Equipment)
        Attn: Manager or Agent
        2455 E. Parleys Way
        Ste 200
        Salt Lake City, UT 84109
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        11/1/2016                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.




                                                                                                                               $1,805,749.3
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         7

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 4 of 4
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         Case 17-00203-5-JNC                          Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                        Page 20 of 68
 Fill in this information to identify the case:

 Debtor name         Sound Medical Supply Partners, LLC

                                                    EASTERN DISTRICT OF NORTH CAROLINA - WILMINGTON
 United States Bankruptcy Court for the:            DIVISION

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        Unknown          Unknown
           Internal Revenue Service                                  Check all that apply.
           Alamance Bldg Mail Stop 24                                   Contingent
           4905 Koger Blvd Ste 102                                      Unliquidated
           Greensboro, NC 27407                                         Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $62,113.87          $62,113.87
           N.C. Dept. of Revenue                                     Check all that apply.
           ATTN: Officer                                                Contingent
           Office Svcs Div, Bankruptcy Un                               Unliquidated
           P. O. Box 1168                                               Disputed
           Raleigh, NC 27602-1168
           Date or dates debt was incurred                           Basis for the claim:
           12/15/2016                                                NC Sales Tax
           Last 4 digits of account number 0929                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 19
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                      Page 21 of 68
 Debtor       Sound Medical Supply Partners, LLC                                                              Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $10,173.95    $10,173.95
          N.C. Dept. of Revenue                                      Check all that apply.
          ATTN: Officer                                                 Contingent
          Office Svcs Div, Bankruptcy Un                                Unliquidated
          P. O. Box 1168                                                Disputed
          Raleigh, NC 27602-1168
          Date or dates debt was incurred                            Basis for the claim:
          12/15/2016                                                 Penalty
          Last 4 digits of account number 0929                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $2,708.82    $2,708.82
          New Hanover Co Tax Coll                                    Check all that apply.
          Attn: Managing Agent                                          Contingent
          PO Box 18000                                                  Unliquidated
          Wilmington, NC 28406                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
          1/16/2016 and 1/17/2017                                    Business property tax
          Last 4 digits of account number 0587                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $6,783.64    $6,783.64
          Tennessee Dept. of Revenue                                 Check all that apply.
          Attn: Manager or Agent                                        Contingent
          Andrew Jackson Bldg, FL 8                                     Unliquidated
          500 Deaderick Street                                          Disputed
          Nashville, TN 37242
          Date or dates debt was incurred                            Basis for the claim:
          11/31/2016                                                 Tennessee Sales Tax
          Last 4 digits of account number 1300                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $745.90     $745.90
          Tennessee Dept. of Revenue                                 Check all that apply.
          Attn: Manager or Agent                                        Contingent
          Andrew Jackson Bldg, FL 8                                     Unliquidated
          500 Deaderick Street                                          Disputed
          Nashville, TN 37242
          Date or dates debt was incurred                            Basis for the claim:
          11/30/2016                                                 Penalty
          Last 4 digits of account number 1300                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 2 of 19
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         Case 17-00203-5-JNC                          Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                                       Page 22 of 68
 Debtor       Sound Medical Supply Partners, LLC                                                              Case number (if known)
              Name

 2.7       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $5,018.79    $5,018.79
           Tennessee Dept. of Revenue                                Check all that apply.
           Attn: Manager or Agent                                       Contingent
           Andrew Jackson Bldg, FL 8                                    Unliquidated
           500 Deaderick Street                                         Disputed
           Nashville, TN 37242
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number 179S                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $4,479.00
           Accident Fund                                                               Contingent
           Attn: Manager or Agent                                                      Unliquidated
           P.O. Box 40790
                                                                                       Disputed
           Lansing, MI 48901-7990
                                                                                   Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number      7700                               Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                        $91.95
           Accutome, Inc.                                                              Contingent
           Attn: Manager or Agent                                                      Unliquidated
           3222 Phoenixville Pike                                                      Disputed
           Malvern, PA 19355
                                                                                   Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $300.48
           Adenna                                                                      Contingent
           Attn: Manager or Agent                                                      Unliquidated
           201 South Mailliken Avenue                                                  Disputed
           Ontario, CA 91761
                                                                                   Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $1,974.31
           Akorn, Inc.                                                                 Contingent
           Attn: Manager or Agent                                                      Unliquidated
           1924 West Field Court                                                       Disputed
           Lake Forest, IL 60045
                                                                                   Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $826.49
           Alliance Tech Medical                                                       Contingent
           Attn: Manager or Agent                                                      Unliquidated
           P.O. Box 6024                                                               Disputed
           Granbury, TX 76049
                                                                                   Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 3 of 19
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                               Page 23 of 68
 Debtor       Sound Medical Supply Partners, LLC                                                      Case number (if known)
              Name

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $955.85
          Ambu, Inc.                                                            Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 347818                                                       Disputed
          Pittsburgh, PA 15251-4818
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          American Express                                                      Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 981540                                                       Disputed
          El Paso, TX 79998-1540
                                                                             Basis for the claim:
          Date(s) debt was incurred 2015
          Last 4 digits of account number       1037                         Is the claim subject to offset?     No       Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $280.26
          AmericourceBergen                                                     Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 503270                                                       Disputed
          Saint Louis, MO 63150-3270
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,910.36
          Andover Healthcare                                                    Contingent
          Attn: Manager or Agent                                                Unliquidated
          9 Fanaras Drive                                                       Disputed
          Salisbury, MA 01952
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,716.65
          Avalon Papers, LLC                                                    Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 3967                                                         Disputed
          Oshkosh, WI 54903-3967
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,947.60
          Bard Medical                                                          Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 75767                                                        Disputed
          Charlotte, NC 28275
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,900.00
          Behalf Credit                                                         Contingent
          Attn: Manager or Agent                                                Unliquidated
          126 5th Avenue                                                        Disputed
          New York, NY 10011
                                                                             Basis for the claim:    Credit repair services
          Date(s) debt was incurred 12/29/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 4 of 19
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                               Page 24 of 68
 Debtor       Sound Medical Supply Partners, LLC                                                      Case number (if known)
              Name

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,245.03
          Bell Medical Services                                                 Contingent
          Attn: Manager or Agent                                                Unliquidated
          120 Benderburg                                                        Disputed
          Marlboro, NJ 07746
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $768.00
          Biolife, LLC                                                          Contingent
          Attn: Manager or Agent                                                Unliquidated
          8163 25th Court E                                                     Disputed
          Sarasota, FL 34243
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $786.70
          Bionix Development Corp.                                              Contingent
          Attn: Manager or Agent                                                Unliquidated
          5154 Enterprise Blvd.                                                 Disputed
          Toledo, OH 43612
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $819.84
          Bioseal                                                               Contingent
          Attn: Manager or Agent                                                Unliquidated
          167 West Orangethorpe Ave.                                            Disputed
          Placentia, CA 92870
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $342.64
          Bledsoe Brace Systems                                                 Contingent
          Attn: Manager or Agent                                                Unliquidated
          2601 Pinewood Drive                                                   Disputed
          Grand Prairie, TX 75051
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,196.58
          BSN Medical, Inc.                                                     Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 751766                                                       Disputed
          Charlotte, NC 28275-1766
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $196.00
          C-Core Medical                                                        Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 471492                                                       Disputed
          Lake Monroe, FL 32747
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 5 of 19
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                               Page 25 of 68
 Debtor       Sound Medical Supply Partners, LLC                                                      Case number (if known)
              Name

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $206.50
          Calgonate Corp.
          Attn: Manager or Agent                                                Contingent
          1391 NW St. Lucie West Blvd                                           Unliquidated
          #303                                                                  Disputed
          Port Saint Lucie, FL 34986
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,990.00
          Capital One Spark                                                     Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 71083                                                        Disputed
          Charlotte, NC 28272-1083
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       2412                         Is the claim subject to offset?     No       Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,177.30
          Capitol Vial                                                          Contingent
          Attn: Manager or Agent                                                Unliquidated
          2039 McMillan Street                                                  Disputed
          Auburn, AL 36832
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,642.00
          Cardinal Health                                                       Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O.Box 730112                                                        Disputed
          Dallas, TX 75373
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $504.61
          Chattanooga Group                                                     Contingent
          Attn: Manager or Agent                                                Unliquidated
          1430 Decision Street                                                  Disputed
          Vista, CA 92081
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $61.49
          Clarity Diagnostics                                                   Contingent
          Attn: Manager or Agent                                                Unliquidated
          1060 Holland Drive                                                    Disputed
          Boca Raton, FL 33487
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,346.20
          Clinton Industries, Inc.                                              Contingent
          Attn: Manager or Agent                                                Unliquidated
          525 East Market Street                                                Disputed
          York, PA 17403
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 6 of 19
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                               Page 26 of 68
 Debtor       Sound Medical Supply Partners, LLC                                                      Case number (if known)
              Name

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $49.23
          Columbia Power & Washer Sys                                           Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 379                                                          Disputed
          Columbia, TN 38402
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,381.70
          Copiers Plus, Inc.                                                    Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 729                                                          Disputed
          Fayetteville, NC 28302-0729
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $447.51
          Coretex Products, Inc.                                                Contingent
          Attn: Manager or Agent                                                Unliquidated
          First Growth Capital                                                  Disputed
          Los Angeles, CA 90051
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $407.03
          Dixie EMS Supply                                                      Contingent
          Attn: Manager or Agent                                                Unliquidated
          10101 Foster Ave.                                                     Disputed
          Brooklyn, NY 11236
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,816.65
          Dynarex Corporation                                                   Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 712454                                                       Disputed
          Cincinnati, OH 45201
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $612.98
          Encompass Group /                                                     Contingent
          Albahealth                                                            Unliquidated
          Attn: Manager or Agent                                                Disputed
          Charlotte, NC 28289
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,452.62
          Enthermics Medical Systems                                            Contingent
          Attn: Manager or Agent                                                Unliquidated
          W164 N9221 Water Street                                               Disputed
          New Holstein, WI 53061
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 7 of 19
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                               Page 27 of 68
 Debtor       Sound Medical Supply Partners, LLC                                                      Case number (if known)
              Name

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,071.50
          Epicor Software Corporation                                           Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 671069                                                       Disputed
          Dallas, TX 75267
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,031.97
          Ergodyne Corporation                                                  Contingent
          Attn: Manager or Agent                                                Unliquidated
          NW8521                                                                Disputed
          Minneapolis, MN 55485
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32,396.62
          Federal Express Corporation                                           Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 223125                                                       Disputed
          Pittsburgh, PA 15251
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $338.73
          Ferris MFG Corp.                                                      Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 732507                                                       Disputed
          Dallas, TX 75373-2507
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,208.47
          Fisher Scientific Company                                             Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 404705                                                       Disputed
          Atlanta, GA 30384
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,274.05
          Garland C. Norris Company                                             Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 28                                                           Disputed
          Apex, NC 27502
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,328.60
          Gavis Pharmaceuticals, LLC                                            Contingent
          Attn: Manager or Agent                                                Unliquidated
          400 Campus Drive                                                      Disputed
          Somerset, NJ 08873
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 8 of 19
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                               Page 28 of 68
 Debtor       Sound Medical Supply Partners, LLC                                                      Case number (if known)
              Name

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $97.30
          GoFit                                                                 Contingent
          Attn: Manager or Agent                                                Unliquidated
          12929 E. Apache Street                                                Disputed
          Tulsa, OK 74116
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $528.76
          Graham Field                                                          Contingent
          Attn: Manager or Agent                                                Unliquidated
          2935 Northeast Parkway                                                Disputed
          Atlanta, GA 30360
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $740.00
          Graphic Controls
          d/b/a VERMED                                                          Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 1271                                                         Disputed
          Buffalo, NY 14204
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $253.33
          Helena Laboratories                                                   Contingent
          Attn: Manager or Agent                                                Unliquidated
          1530 Lindbergh Drive                                                  Disputed
          Beaumont, TX 77704-0752
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $914.15
          Hemosure, Inc.                                                        Contingent
          Attn: Manager or Agent                                                Unliquidated
          5358 Irwindale Avenue                                                 Disputed
          Baldwin Park, CA 91706
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,952.42
          Henry Schein, Inc.
          c/b/a InSource                                                        Contingent
          Attn: Manager or Agent                                                Unliquidated
          Dept CH 10560                                                         Disputed
          Palatine, IL 60055
                                                                             Basis for the claim:    Inventory
          Date(s) debt was incurred 5/24/2016
          Last 4 digits of account number 0894                               Is the claim subject to offset?     No       Yes


 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $811.51
          Hilco / i-Promotions                                                  Contingent
          Attn: Manager or Agent                                                Unliquidated
          9522 Gravois Road                                                     Disputed
          Saint Louis, MO 63123
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 9 of 19
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                               Page 29 of 68
 Debtor       Sound Medical Supply Partners, LLC                                                      Case number (if known)
              Name

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,439.00
          Hilex Poly Co., LLC
          Attn: Manager or Agent                                                Contingent
          Dept. 720048                                                          Unliquidated
          P.O. Box 1335                                                         Disputed
          Charlotte, NC 28201
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,836.43
          Hospira                                                               Contingent
          Attn: Manager or Agent                                                Unliquidated
          75 Remittance Drive                                                   Disputed
          Chicago, IL 60675
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $90.00
          HUB Pharmaceuticals, LLC                                              Contingent
          Attn: Manager or Agent                                                Unliquidated
          9339 Charles Smith Ave.                                               Disputed
          Rancho Cucamonga, CA 91730
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $198.90
          Hurricane Medical, Inc.                                               Contingent
          Attn: Manager or Agent                                                Unliquidated
          5315 Lena Road                                                        Disputed
          Bradenton, FL 34211
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,599.32
          Independent Pharma                                                    Contingent
          Attn: Manager or Agent                                                Unliquidated
          854 E. Crescentville Road                                             Disputed
          Cincinnati, OH 45246
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,827.77
          Infection Control Tech.                                               Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 160526                                                       Disputed
          Clearfield, UT 84016
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $34,082.70
          Insource                                                              Contingent
          Attn: Manager or Agent                                                Unliquidated
          Box 382023                                                            Disputed
          Pittsburgh, PA 15250-2028
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 10 of 19
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                               Page 30 of 68
 Debtor       Sound Medical Supply Partners, LLC                                                      Case number (if known)
              Name

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $127.65
          J&M Supply                                                            Contingent
          Attn: Manager or Agent                                                Unliquidated
          2406 Highland Avenue                                                  Disputed
          Columbia, TN 38401
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,571.55
          Jant Pharmacal Corp.                                                  Contingent
          Attn: Manager or Agent                                                Unliquidated
          16530 Ventura Blvd. #512                                              Disputed
          Encino, CA 91436
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,212.50
          Johnson Morgan and White                                              Contingent
          Attn: Manager or Agent                                                Unliquidated
          6800 Broken Sound Parkway                                             Disputed
          Boca Raton, FL 33487
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       3326                         Is the claim subject to offset?     No       Yes


 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,032.29
          Lagasse, Inc.                                                         Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 532670                                                       Disputed
          Atlanta, GA 30353
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       6156                         Is the claim subject to offset?     No       Yes


 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,454.10
          Mammoth Medical                                                       Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 1000, Sept #395                                              Disputed
          Memphis, TN 38148
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,483.72
          MedChain Supply                                                       Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 842818                                                       Disputed
          Boston, MA 02284-2818
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       0061                         Is the claim subject to offset?     No       Yes


 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $504.46
          Medi Nuclear                                                          Contingent
          Attn: Manager or Agent                                                Unliquidated
          3365 Momentum Place                                                   Disputed
          Chicago, IL 60689
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       4190                         Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 11 of 19
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                               Page 31 of 68
 Debtor       Sound Medical Supply Partners, LLC                                                      Case number (if known)
              Name

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $38.45
          Medical ID Solutions                                                  Contingent
          Attn: Manager or Agent                                                Unliquidated
          6325 McCoy Road                                                       Disputed
          Orlando, FL 32822
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       2089                         Is the claim subject to offset?     No       Yes


 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,429.24
          Medical Products, Inc.                                                Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 207                                                          Disputed
          Piney Creek, NC 28663
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,149.46
          Medique Products                                                      Contingent
          Attn: Manager or Agent                                                Unliquidated
          4159 Shoreline Drive                                                  Disputed
          Earth City, MO 63045
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       SMSP                         Is the claim subject to offset?     No       Yes


 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $221.86
          Medline Industries, Inc.                                              Contingent
          Attn: Manager or Agent                                                Unliquidated
          Box 382075                                                            Disputed
          Pittsburgh, PA 15251-8075
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       2539                         Is the claim subject to offset?     No       Yes


 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $31,136.37
          Medworld Supply, Inc.                                                 Contingent
          Attn: Manager or Agent                                                Unliquidated
          168 10th Street                                                       Disputed
          Brooklyn, NY 11215
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $475.00
          Meridian Medical Technologies                                         Contingent
          Attn: Manager or Agent                                                Unliquidated
          6350 Stevens Forest Road                                              Disputed
          Columbia, MD 21046
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $71.51
          Micro Direct                                                          Contingent
          Attn: Manager or Agent                                                Unliquidated
          803 Webster Street                                                    Disputed
          Lewiston, ME 04240
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 12 of 19
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                               Page 32 of 68
 Debtor       Sound Medical Supply Partners, LLC                                                      Case number (if known)
              Name

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $224.61
          Mortara / Burdick                                                     Contingent
          Attn: Manager or Agent                                                Unliquidated
          7865 North 86th Street                                                Disputed
          Milwaukee, WI 53224
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       8843                         Is the claim subject to offset?     No       Yes


 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $328.60
          MSI Precision Specialty
          Instruments                                                           Contingent
          Attn: Manager or Agent                                                Unliquidated
          1220 Valley Forge Rd,Bldg 34                                          Disputed
          Phoenixville, PA 19460
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,170.00
          Natus Medical, Inc.                                                   Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 3604                                                         Disputed
          Carol Stream, IL 60132
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       8616                         Is the claim subject to offset?     No       Yes


 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $312,940.55
          NDC, Inc.                                                             Contingent
          Attn: Manager or Agent                                                Unliquidated
          407 New Sanford Road                                                  Disputed
          La Vergne, TN 37086
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       0061                         Is the claim subject to offset?     No       Yes


 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $152.40
          Nikomed USA, Inc.                                                     Contingent
          Attn: Manager or Agent                                                Unliquidated
          2800 Turnpike Drive                                                   Disputed
          Hatboro, PA 19040
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $501.31
          North Coast Medical, Inc.                                             Contingent
          Attn: Manager or Agent                                                Unliquidated
          8100 Camino Arroyo                                                    Disputed
          Gilroy, CA 95020
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       0328                         Is the claim subject to offset?     No       Yes


 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $157.07
          O'Reilly Auto Parts                                                   Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 1156                                                         Disputed
          Springfield, MO 65801
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 13 of 19
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                               Page 33 of 68
 Debtor       Sound Medical Supply Partners, LLC                                                      Case number (if known)
              Name

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,162.58
          Occunomix International, LLC                                          Contingent
          Attn: Manager or Agent                                                Unliquidated
          3447 Solutions Center                                                 Disputed
          Chicago, IL 60677
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       U284                         Is the claim subject to offset?     No       Yes


 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $691.91
          Office Depot                                                          Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 633211                                                       Disputed
          Cincinnati, OH 45263
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       2837                         Is the claim subject to offset?     No       Yes


 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,220.72
          Office Depot                                                          Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 633211                                                       Disputed
          Cincinnati, OH 45263
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       5257                         Is the claim subject to offset?     No       Yes


 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $152.46
          Omnimed, Inc.                                                         Contingent
          Attn: Manager or Agent                                                Unliquidated
          800 Glen Avenue                                                       Disputed
          Moorestown, NJ 08057
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,875.54
          One Beat CPR Learning Ctr.                                            Contingent
          Attn: Manager or Agent                                                Unliquidated
          4350 Oakes Road                                                       Disputed
          Fort Lauderdale, FL 33314
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $396.85
          OPTP                                                                  Contingent
          Attn: Manager or Agent                                                Unliquidated
          3800 Anapolis Ln, Ste 165                                             Disputed
          Minneapolis, MN 55447
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       8480                         Is the claim subject to offset?     No       Yes


 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $750.33
          Ovation Medical                                                       Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 745846                                                       Disputed
          Los Angeles, CA 90074-5846
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       4760                         Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 14 of 19
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                               Page 34 of 68
 Debtor       Sound Medical Supply Partners, LLC                                                      Case number (if known)
              Name

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $259.19
          Parker Laboratories, Inc.                                             Contingent
          Attn: Manager or Agent                                                Unliquidated
          286 Eldridge Road                                                     Disputed
          Fairfield, NJ 07004
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $82,465.48
          D. Read Patterson, II                                                 Contingent
          905 Twisted Oak Place                                                 Unliquidated
          Wilmington, NC 28405                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unpaid wages
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $22,266.06
          D. Read Patterson, II                                                 Contingent
          905 Twisted Oak Place                                                 Unliquidated
          Wilmington, NC 28405                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $329.84
          Personnel Concepts, Inc.                                              Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 5750                                                         Disputed
          Carol Stream, IL 60197-5750
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $350.92
          Phillips Burton                                                       Contingent
          Attn: Manager or Agent                                                Unliquidated
          21100 Lassen Street                                                   Disputed
          Chatsworth, CA 91311
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       5725                         Is the claim subject to offset?     No       Yes


 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,990.30
          Physio Control                                                        Contingent
          Attn: Manager or Agent                                                Unliquidated
          11811 Willows Road NE                                                 Disputed
          Redmond, WA 98052
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       9101                         Is the claim subject to offset?     No       Yes


 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $764.73
          Power Systems                                                         Contingent
          Attn: Manager or Agent                                                Unliquidated
          5700 Casey Drive                                                      Disputed
          Knoxville, TN 37909
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 15 of 19
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                               Page 35 of 68
 Debtor       Sound Medical Supply Partners, LLC                                                      Case number (if known)
              Name

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $89.95
          Preventia Security, LLC                                               Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 1563                                                         Disputed
          Columbia, TN 38401
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,001.93
          Propper Mfg. Co., Inc.                                                Contingent
          Attn: Manager or Agent                                                Unliquidated
          36-04 Skillman Ave.                                                   Disputed
          Long Island City, NY 11101
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       2810                         Is the claim subject to offset?     No       Yes


 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $79.68
          PSI Collections                                                       Contingent
          Attn: Manager or Agent                                                Unliquidated
          21214 Schofield Drive                                                 Disputed
          Gretna, NE 68028
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $563.62
          Puritan Medical Products                                              Contingent
          Attn: Manager or Agent                                                Unliquidated
          31 School Street                                                      Disputed
          Guilford, ME 04443
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,549.00
          Retractable Technologies, Inc.                                        Contingent
          Attn: Manager or Agent                                                Unliquidated
          511 Lobo Lane                                                         Disputed
          Little Elm, TX 75068
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       3245                         Is the claim subject to offset?     No       Yes


 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $478.44
          S.P. Richards Company                                                 Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 1266                                                         Disputed
          Smyrna, GA 30081-1266
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       3661                         Is the claim subject to offset?     No       Yes


 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $154.68
          Scientific Sales, Inc.                                                Contingent
          Attn: Manager or Agent                                                Unliquidated
          130 Valley Court                                                      Disputed
          Oak Ridge, TN 37830
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 16 of 19
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         Case 17-00203-5-JNC                          Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                               Page 36 of 68
 Debtor       Sound Medical Supply Partners, LLC                                                      Case number (if known)
              Name

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $732.36
          Seneca Medical                                                        Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 636705                                                       Disputed
          Cincinnati, OH 45263-6705
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       5611                         Is the claim subject to offset?     No       Yes


 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $500.00
          Share Moving Media, Inc.                                              Contingent
          Attn: Manager or Agent                                                Unliquidated
          1735 N. Brown Road, Suite 140                                         Disputed
          Lawrenceville, GA 30043
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,321.59
          Shuttle Systems                                                       Contingent
          Attn: Manager or Agent                                                Unliquidated
          4201 Guide Meridian, Ste 101A                                         Disputed
          Bellingham, WA 98226
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,674.15
          Teleflex Medical Incorporated                                         Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 601608                                                       Disputed
          Charlotte, NC 28260
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       2163                         Is the claim subject to offset?     No       Yes


 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $175.00
          Terminix Co of NC                                                     Contingent
          Attn: Manager or Agent                                                Unliquidated
          P.O. Box 2587                                                         Disputed
          Fayetteville, NC 28302
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,266.28
          The Palm Tree Group                                                   Contingent
          Attn: Manager or Agent                                                Unliquidated
          12701 Director's Dr.                                                  Disputed
          Stafford, TX 77477
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       8583                         Is the claim subject to offset?     No       Yes


 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $370.50
          The Pillow Factory                                                    Contingent
          Attn: Manager or Agent                                                Unliquidated
          900 Busch Pkwy                                                        Disputed
          Buffalo Grove, IL 60089
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 17 of 19
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         Case 17-00203-5-JNC                          Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                               Page 37 of 68
 Debtor       Sound Medical Supply Partners, LLC                                                      Case number (if known)
              Name

 3.104     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $6,395.79
           Tradex                                                               Contingent
           Attn: Manager or Agent                                               Unliquidated
           P.O. Box 75746                                                       Disputed
           Cleveland, OH 44101-4755
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number      OUND                         Is the claim subject to offset?     No       Yes


 3.105     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $266.76
           TSI                                                                  Contingent
           Attn: Manager or Agent                                               Unliquidated
           500 Cardigan Road                                                    Disputed
           Saint Paul, MN 55126
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.106     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $436.53
           UPS                                                                  Contingent
           Attn: Manager or Agent                                               Unliquidated
           P.O. Box 7247-0244                                                   Disputed
           Philadelphia, PA 19170-0001
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number      W552                         Is the claim subject to offset?     No       Yes


 3.107     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $19,844.63
           US Diagnostics                                                       Contingent
           Attn: Manager or Agent                                               Unliquidated
           P.O. Box 5531                                                        Disputed
           Carol Stream, IL 60197-5531
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.108     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $144.00
           VE Ralph and Son, Inc.                                               Contingent
           Attn: Manager or Agent                                               Unliquidated
           320 Schuyler Ave.                                                    Disputed
           Kearny, NJ 07032
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number      4155                         Is the claim subject to offset?     No       Yes


 3.109     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $1,167.85
           Wallach Surgical Devices, Inc.                                       Contingent
           Attn: Manager or Agent                                               Unliquidated
           95 Corporate Drive                                                   Disputed
           Trumbull, CT 06611
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number      2793                         Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 18 of 19
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                       Page 38 of 68
 Debtor       Sound Medical Supply Partners, LLC                                                  Case number (if known)
              Name

                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                     87,544.97
 5b. Total claims from Part 2                                                                       5b.   +   $                    851,127.44

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                      938,672.41




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 19 of 19
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                             Page 39 of 68
 Fill in this information to identify the case:

 Debtor name         Sound Medical Supply Partners, LLC

                                                    EASTERN DISTRICT OF NORTH CAROLINA - WILMINGTON
 United States Bankruptcy Court for the:            DIVISION

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.        State what the contract or                   Lease of commercial
             lease is for and the nature of               office space located at
             the debtor's interest                        1930 Oleander Drive,
                                                          Wilmington
                  State the term remaining                Expires 1/31/2019             Columbus Properties, LLC
                                                                                        Attn: David Sprunt
             List the contract number of any                                            1201-B Columbus Circle
                   government contract                                                  Wilmington, NC 28403




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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          Case 17-00203-5-JNC                         Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                         Page 40 of 68
 Fill in this information to identify the case:

 Debtor name         Sound Medical Supply Partners, LLC

                                                    EASTERN DISTRICT OF NORTH CAROLINA - WILMINGTON
 United States Bankruptcy Court for the:            DIVISION

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      D. Read                           905 Twisted Oak Place                             Kings Cash Group                   D   2.4
             Patterson, II                     Wilmington, NC 28405                                                                 E/F
                                                                                                                                    G




    2.2      D. Read                           905 Twisted Oak Place                             Merchant Funding                   D   2.7
             Patterson, II                     Wilmington, NC 28405                              Svcs., LLC                         E/F
                                                                                                                                    G




    2.3      D. Read                           905 Twisted Oak Place                             Capacity Funding, LLC              D   2.3
             Patterson, II                     Wilmington, NC 28405                                                                 E/F
                                                                                                                                    G




    2.4      D. Read                           905 Twisted Oak Place                             Platinum Rapid                     D   2.8
             Patterson, II                     Wilmington, NC 28405                              Funding                            E/F
                                                                                                                                    G




    2.5      D. Read                           905 Twisted Oak Place                             Ally Financial                     D   2.1
             Patterson, II                     Wilmington, NC 28405                                                                 E/F
                                                                                                                                    G




Official Form 206H                                                       Schedule H: Your Codebtors                                           Page 1 of 2
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          Case 17-00203-5-JNC                         Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38               Page 41 of 68

 Debtor       Sound Medical Supply Partners, LLC                                      Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.6      D. Read                           905 Twisted Oak Place                       BMW Bank of North                D   2.2
             Patterson, II                     Wilmington, NC 28405                        America                          E/F
                                                                                                                            G




    2.7      D. Read                           905 Twisted Oak Place                       Summit Financial                 D   2.9
             Patterson, II                     Wilmington, NC 28405                        Resources, LP                    E/F
                                                                                                                            G




    2.8      D. Read                           905 Twisted Oak Place                       American Express                 D
             Patterson, II                     Wilmington, NC 28405                                                         E/F       3.7
                                                                                                                            G




    2.9      D. Read                           905 Twisted Oak Place                       Capital One Spark                D
             Patterson, II                     Wilmington, NC 28405                                                         E/F       3.21
                                                                                                                            G




    2.10     D. Read                           905 Twisted Oak Place                       Behalf Credit                    D
             Patterson, II                     Wilmington, NC 28405                                                         E/F       3.12
                                                                                                                            G




    2.11     D. Read                           905 Twisted Oak Place                       LEAF Financial                   D   2.5
             Patterson, II                     Wilmington, NC 28405                                                         E/F
                                                                                                                            G




    2.12     D. Read                           905 Twisted Oak Place                       LEAF Financial                   D   2.6
             Patterson, II                     Wilmington, NC 28405                                                         E/F
                                                                                                                            G




Official Form 206H                                                     Schedule H: Your Codebtors                                     Page 2 of 2
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                     Page 42 of 68



 Fill in this information to identify the case:

 Debtor name         Sound Medical Supply Partners, LLC

                                                    EASTERN DISTRICT OF NORTH CAROLINA - WILMINGTON
 United States Bankruptcy Court for the:            DIVISION

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $118,175.84
       From 1/01/2017 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $4,615,480.61
       From 1/01/2016 to 12/31/2016
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $4,786,677.00
       From 1/01/2015 to 12/31/2015
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                         Page 43 of 68
 Debtor       Sound Medical Supply Partners, LLC                                                        Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See attached Exhibit A                                                                              $0.00              Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    D. Read Patterson, II                                       (See Exhibit                            $0.00         (See Exhibit B)
               905 Twisted Oak Place                                       B)
               Wilmington, NC 28405
               Managing Member

       4.2.    GreatAmerica Financial                                      Periodic                         $40,000.00           Payments on debts for which
                                                                           payments,                                             Gregory J. Johnson (fomer
                                                                           with balance                                          member) was guarantor
                                                                           paid in                                               Approx. total of payments shown
                                                                           November
                                                                           2016

       4.3.    Toyota Financial                                            Periodic                         $37,000.00           Payments on debts for which
                                                                           payments,                                             Gregory J. Johnson (fomer
                                                                           with balance                                          member) was guarantor
                                                                           paid in                                               Approx. total of payments shown
                                                                           November
                                                                           2016

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                       Page 44 of 68
 Debtor      Sound Medical Supply Partners, LLC                                                            Case number (if known)




           None.

               Case title                                       Nature of case               Court or agency's name and             Status of case
               Case number                                                                   address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                  Dates given                          Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                  lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 3
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                       Page 45 of 68
 Debtor        Sound Medical Supply Partners, LLC                                                        Case number (if known)



                 Who was paid or who received                        If not money, describe any property transferred           Dates             Total amount or
                 the transfer?                                                                                                                            value
                 Address
       11.1.                                                                                                                   1/5/2017

                                                                                                                               *See
                                                                                                                               additional
                                                                                                                               information
                                                                                                                               contained in
                                                                                                                               the Affidavit
                                                                                                                               attached to
                                                                                                                               the
                                                                                                                               Application
                                                                                                                               for
                 Stubbs & Perdue, P.A.                                                                                         Employment
                 310 Craven Street                                                                                             of Attorney
                 PO Box 1654                                                                                                   for the
                 New Bern, NC 28563-1654                                                                                       Debtor                  $26,717.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers            Total amount or
                                                                                                                      were made                           value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                          Description of property transferred or                   Date transfer           Total amount or
                Address                                         payments received or debts paid in exchange              was made                         value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     6608-3 Windmill Way                                                                                       3/1/2012 to 10/31/2013
                 Wilmington, NC 28405

       14.2.     P.O. Box 4                                                                                                12/21/2011 to 2013
                 Wilmington, NC 28402

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                     Page 46 of 68
 Debtor        Sound Medical Supply Partners, LLC                                                       Case number (if known)



    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                      Nature of the business operation, including type of services            If debtor provides meals
                                                                the debtor provides                                                     and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or          Date account was              Last balance
               Address                                          account number            instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred
       18.1.     South State Bank                               XXXX-3790                    Checking                 11/15/2016                     $17,318.10
                                                                                             Savings
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 5
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                         Page 47 of 68
 Debtor      Sound Medical Supply Partners, LLC                                                         Case number (if known)




          None

       Facility name and address                                     Names of anyone with                 Description of the contents                   Do you still
                                                                     access to it                                                                       have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                  Page 48 of 68
 Debtor      Sound Medical Supply Partners, LLC                                                         Case number (if known)



26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26a.1.       JulieAnn Beverage                                                                                                   8/20/2012 to 7/2/2015
                    108 Sandy Shore Lane
                    Swansboro, NC 28584
       26a.2.       Jennifer Davis                                                                                                      6/15/2015 to
                    6312 Morrow Road                                                                                                    2/12/2016
                    Wilmington, NC 28412
       26a.3.       Lauren Haardin Morse                                                                                                3/29/2016 to
                    504 Amberdale Circle                                                                                                5/20/2016
                    Pembroke, NC 28372
       26a.4.       Heidi Manders                                                                                                       5/16/2016 to present
                    501 Cape Fear Blvd.
                    Carolina Beach, NC 28428
       26a.5.       Adam Shay                                                                                                           2014 and 2015
                    Lauren Isaacson, CPA
                    1721 Allens Lane #210
                    Wilmington, NC 28403
       26a.6.       Madison Scuorzo                                                                                                     12/2/2014 to
                    609 Saint Vincent Drive                                                                                             6/26/2015
                    Wilmington, NC 28412

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.1.       Accident Fund                                                                                                       Payroll audit for
                    200 N. Grand Avenue                                                                                                 worker's
                    Lansing, MI 48901-7990                                                                                              compensation
                                                                                                                                        insurance for
                                                                                                                                        2015-2016
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.2.       Joseph Gillespie & Jacob Broome                                                                                     2016
                    Unified Examiners
                    2858 Johnson Ferry Road
                    Suite 250
                    Marietta, GA 30062

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Adam Shay
                    Lauren Isaacson, CPA
                    1721 Allens Lane #210
                    Wilmington, NC 28403



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 7
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                  Page 49 of 68
 Debtor      Sound Medical Supply Partners, LLC                                                         Case number (if known)



       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.2.       Heidi Manders
                    501 Cape Fear Blvd.
                    Carolina Beach, NC 28428

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       Summit Financial Resources, LP
                    Attn: Manager or Agent
                    2455 E. Parleys Way
                    Ste 200
                    Salt Lake City, UT 84109
       26d.2.       Sterling Commercial Credit, LLC
                    10559 Citation Dr., Ste. 204
                    Brighton, MI 48116
       26d.3.       Knight Capital


       26d.4.       Windset Capital Corporation
                    4168 West 12600 South
                    2nd Floor
                    Herriman, UT 84096
       26d.5.       Evolution


       26d.6.       Kings Cash Group
                    Attn: Manager or Agent
                    30 Broad Street, 12th Floor
                    New York, NY 10001
       26d.7.       Capacity Funding, LLC
                    Attn: Manager or Agent
                    7 Renaissance Sq., 5th Fl.
                    White Plains, NY 10601
       26d.8.       Platinum Rapid Funding
                    Group, Ltd.
                    Attn: Manager or Agent
                    348 RXR Plaza
                    Uniondale, NY 11556
       26d.9.       Crystal Funding


       26d.10.      Web Bank/Can Capital
                    2015 Vaughn Road, Ste 500
                    Kennesaw, GA 30144
       26d.11.      CresCom



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 8
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                   Page 50 of 68
 Debtor      Sound Medical Supply Partners, LLC                                                         Case number (if known)




            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory
       27.1 Kieran Davis
       .                                                                                    1/10/2017                $548,678.04 - Cost

               Name and address of the person who has possession of
               inventory records
               Debtor



       27.2 Kieran Davis
       .                                                                                    1/12/2017                $554,768.24 - cost

               Name and address of the person who has possession of
               inventory records
               Debtor



28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       D. Read Patterson, II                          905 Twisted Oak Place                               Managing Member                       85%
                                                      Wilmington, NC 28405                                                                      membership
                                                                                                                                                interest - Class
                                                                                                                                                A
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Atlantic Coast Orthopaedic                     Medical Supplies, Inc.                              Member                                10%
                                                      Attn: Manager or Agent                                                                    membership
                                                      6510 Northpark Blvd.                                                                      interest - Class
                                                      Charlotte, NC 28216                                                                       B
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Wilmington Health, PLLC                        Attn: Manager or Agent                              Member                                5%
                                                      1202 Medical Center Drive                                                                 membership
                                                      Wilmington, NC 28401                                                                      interest - Class
                                                                                                                                                B


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Brad Johnson                                   114 Christopher St., Apt 9                          Managing Member                   12/21/2011 to
                                                      New York, NY 10014                                                                    11/17/2016




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                     Page 51 of 68
 Debtor      Sound Medical Supply Partners, LLC                                                         Case number (if known)



       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Gregory James Johnson                          413 Marshland Drive                                 Managing Member                  12/21/2011 to
                                                      Wilmington, NC 28405                                                                 11/17/2016

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       James L. Johnson                               401 Indian Harbor Road                              Managing Member                  12/21/2011 to
                                                      Vero Beach, FL 32963                                                                 11/17/2016


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value
       30.1 D. Read Patterson, II
       .    905 Twisted Oak Place
               Wilmington, NC 28405                             See Exhibit B                                            See Exhibit B     See Exhibit B

               Relationship to debtor
               Managing Member


       30.2 Gregory James Johnson
       .    413 Marshland Drive                                                                                                            Interest on loan
               Wilmington, NC 28405                             885.89                                                   1/30/2015         made to company.

               Relationship to debtor
               Former member


       30.3 James L. Johnson
       .    401 Indian Harbor Road                                                                                                         Interest on loan
               Vero Beach, FL 32963                             $506.23                                                  1/30/2015         made to company.

               Relationship to debtor
               Former member


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 10
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        Case 17-00203-5-JNC                           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                             Page 52 of 68
 Debtor      Sound Medical Supply Partners, LLC                                                         Case number (if known)




 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         January 13, 2017

 /s/ D. Read Patterson, II                                              D. Read Patterson, II
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         CEO and Managing Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                         page 11
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
                             Case 17-00203-5-JNC                        Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                              Page 53 of 68

EXHIBIT A
SFA - Q.3
Payments to Creditors - 90 days
                                       Total Paid                       Reason Payment

ACO Med Supply                                                8032.50   supplier                               6510 northpark blvd             Charlotte,NC 28216       704-921-0116
                                        2 006336                              10/14/2016 13:13    $   1,343.55 ACO Med Supply
                                        2 006336M                             10/28/2016 12:18    $   1,343.55 ACO Med Supply
                                        2 ACHACO10262016A                      10/26/2016 0:00    $   1,354.34 ACO Med Supply
                                        1 ACHOneBeat12162016A                  12/16/2016 0:00    $   1,486.10 ACO Med Supply
                                        4 ACOAMEX2504.96A                      11/11/2016 0:00    $   2,504.96 ACO Med Supply
Alliance Federal Credit Union /RPattrson C                   12302.21   supplies and expenses                  2465 S 17th Street              Wilmington      NC       28403
                                        1 002704                              11/30/2016 14:30    $   1,200.00 Alliance Federal Credit Union
                                        1 002737                              12/14/2016 15:17    $   5,041.35 Alliance Federal Credit Union
                                        2 006325                              10/13/2016 16:33    $   6,060.86 Alliance Federal Credit Union
American Express                                            141122.18   supplies and expenses     American Expr P.O. box 981540                El Paso         TX       79998‐1540
                                        2 ACHAMEXMeFEE10142016A               10/25/2016 17:43    $      7.95 American Express
                                        4 AMEXLateFee11302016A                 11/30/2016 0:00    $     38.00 American Express
                                        1 ACHAMEXCCFEE12192016A               12/19/2016 15:45    $    135.15 American Express
                                        1 ACHAMEX11182016A                     11/18/2016 0:00    $    222.09 American Express
                                        2 ACHAmexFee10182016A                 10/25/2016 17:57    $    265.37 American Express
                                        4 AMEXCCfinanchg102820A                10/28/2016 0:00    $    490.52 American Express
                                        1 ACHAMEXpay11212016A                 11/25/2016 12:37    $ 20,000.00 American Express
                                        1 ACHAMEX12302016A                     12/30/2016 0:00    $ 52,361.84 American Express
                                        2 ACHAMEX11102016A                    11/10/2016 10:08    $ 67,601.26 American Express
Bell Medical Services                                        17201.11   supplier                               120 Vanderburg                  Marlboro        NJ       7746
                                        1 002686                              11/18/2016 14:39    $ 1,934.04 Bell Medical Services
                                        5 BELLCC 10192016A                    10/19/2016 17:52    $ 3,196.95 Bell Medical Services
                                        4 BELLAMEXCC11112016A                 11/11/2016 12:48    $ 12,070.12 Bell Medical Services
Blue Cross Blue Shield                                        8081.82   services                  BCBS of NorthP.O. bx 2291                    Durham          NC       27702
                                        1 ACHBCBS12092016A                       12/9/2016 0:00   $ 2,057.66 Blue Cross Blue Shield
                                        2 ACHBCBS11082016A                       11/9/2016 8:51   $ 2,057.66 Blue Cross Blue Shield
                                        1 ACHBCBS12212016A                    12/21/2016 15:55    $ 3,966.50 Blue Cross Blue Shield
Capital One                                                  59632.62   supplies and expenses     Capital One BaP.O. box 71083                 Charlotte       NC       28272‐1083
                                        5 CourtyardCC10242016A                 10/31/2016 0:00    $     30.98 Capital One
                                        5 BPCC11252016A                        11/25/2016 0:00    $     49.69 Capital One
                                        5 CapOneEXP2CC10312016A                10/31/2016 0:00    $     77.07 Capital One
                                        5 CaponeCC11302016A                   12/13/2016 12:15    $    162.12 Capital One
                                        5 CAPone11302016A                      11/30/2016 0:00    $    348.26 Capital One
                                        5 OctExpCC10312016A                    10/31/2016 0:00    $    657.34 Capital One
                                        5 CapneCC12192016A                     12/19/2016 0:00    $ 1,104.80 Capital One
                                        5 CAPOneExpCC11302016A                 11/30/2016 0:00    $ 2,814.91 Capital One
                                        1 ACHCaptilOne12122016A                12/12/2016 0:00    $ 2,923.97 Capital One
                                        1 ACHCAPONE11212016A                   11/21/2016 0:00    $ 3,749.74 Capital One
                                        5 CAPoneEXPCC12122016A                 12/12/2016 0:00    $ 5,460.27 Capital One
                                        1 ACHCAPoONS12072016A                    12/9/2016 0:00   $ 5,923.97 Capital One
                                        1 acahcapoNE113016A                    11/30/2016 0:00    $ 6,555.65 Capital One
                                        1 ACHCAPONE12152016A                  12/15/2016 20:37    $ 7,929.93 Capital One
                                        2 ACHCApONE11092016A                     11/9/2016 0:00   $ 10,906.31 Capital One
                                        1 ACHCAPone12302016A                   12/30/2016 0:00    $ 10,937.61 Capital One
DJO, LLC                                                       9169.9   supplier                              1430 Decision Street             Vista           CA       92081
                                        5 DJLCC12022016A                         12/2/2016 0:00   $      2.68 DJO, LLC
                                        2 ACHDJO10262016-1A                    10/26/2016 0:00    $      8.04 DJO, LLC
                                        5 DJOCC12082016A                         12/8/2016 0:00   $      9.19 DJO, LLC
                                        2 ACHCJO10242016-2A                    10/24/2016 0:00    $     10.72 DJO, LLC
                                        2 ACHDJO10312016-1A                    10/31/2016 0:00    $     11.48 DJO, LLC
                                        2 ACHCJO10122016A                      10/12/2016 0:00    $     12.02 DJO, LLC
                              Case 17-00203-5-JNC                     Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                              Page 54 of 68

                                  2   ACHDJO10122016A                        10/12/2016 0:00     $      12.02   DJO, LLC
                                  5   DJOCC12092016A                           12/9/2016 0:00    $      13.94   DJO, LLC
                                  2   ACHDJO10312016-2A                      10/31/2016 0:00     $      16.88   DJO, LLC
                                  2   ACHDJO10262016A                        10/26/2016 0:00     $      18.03   DJO, LLC
                                  2   ACHDJO10242016-1A                      10/24/2016 0:00     $      21.86   DJO, LLC
                                  1   ACHDJO12142016A                        12/14/2016 0:00     $      22.06   DJO, LLC
                                  2   ACHDJO10262016-2A                      10/26/2016 0:00     $      24.04   DJO, LLC
                                  5   DJOCC12052016A                           12/5/2016 0:00    $      24.31   DJO, LLC
                                  2   ACHDJO11102016A                        11/10/2016 0:00     $      24.52   DJO, LLC
                                  5   DJOCC11212016A                         11/21/2016 0:00     $      26.80   DJO, LLC
                                  2   ACHDJO11102016-1A                      11/10/2016 0:00     $      30.05   DJO, LLC
                                  2   ACHDJO11142016-2A                      11/14/2016 0:00     $      31.57   DJO, LLC
                                  2   ACHDJO11072016-2A                        11/7/2016 0:00    $      31.78   DJO, LLC
                                  2   ACHCJO10142016A                        10/14/2016 0:00     $      33.84   DJO, LLC
                                  1   ACHDJO12222016A                        12/22/2016 0:00     $      50.76   DJO, LLC
                                  2   ACHDJO11072016-3A                        11/7/2016 0:00    $      59.76   DJO, LLC
                                  5   DJOCC12032016A                           12/3/2016 0:00    $      83.01   DJO, LLC
                                  1   ACHDJO12162016A                        12/16/2016 0:00     $     103.14   DJO, LLC
                                  5   DJOCC12162016A                         12/16/2016 0:00     $     138.70   DJO, LLC
                                  2   ACHDJO11092016A                          11/9/2016 0:00    $     173.03   DJO, LLC
                                  2   ACHDJO11012016A                          11/1/2016 0:00    $     182.06   DJO, LLC
                                  5   DJOCC 12192016A                        12/30/2016 0:00     $     218.42   DJO, LLC
                                  1   ACHDJO12102016A                        12/10/2016 0:00     $     292.84   DJO, LLC
                                  5   DJOCC12152016A                         12/15/2016 0:00     $     432.96   DJO, LLC
                                  2   ACHDJO10122016-2A                      10/12/2016 0:00     $     521.96   DJO, LLC
                                  1   ACHDJO12122016A                        12/12/2016 0:00     $     550.43   DJO, LLC
                                  4   DJOAMEX01042017A                          1/4/2017 0:00    $     583.96   DJO, LLC
                                  5   DJOCC11192016A                         11/19/2016 0:00     $     733.22   DJO, LLC
                                  2   ACHDJO11072016- 1A                       11/7/2016 0:00    $     841.14   DJO, LLC
                                  2   ACHDJO10192016A                        10/19/2016 0:00     $     846.55   DJO, LLC
                                  5   DJOCC12062016A                           12/6/2016 0:00    $     847.00   DJO, LLC
                                  2   ACHDJO10032016A                       10/23/2016 19:15     $     995.45   DJO, LLC
                                  2   ACHDJO11142016A                        11/14/2016 0:00     $   1,129.68   DJO, LLC
Dun & Bradstreet                                              7500                   services                   5210 E Williams Circle Suite 150Tucson       AZ       85711
                                      Paid with Behalf CC                    12/29/2016 0:00     $   7,500.00   Dun & Bradstreet
Dynarex Corporation                                         7734.15   supplier                                  PO Box 712454                   Cincinnati   OH       45271-2454
                                  2 006320                                  10/13/2016 12:50     $   3,000.00   Dynarex Corporation
                                  1 002742                                   12/15/2016 7:06     $   4,734.15   Dynarex Corporation
Epicor Software Corporation                                  16533    services                                  PO Box 671069                   Dallas       TX       75267-1069
                                  1 002771                                  12/29/2016 17:23     $ 6,525.00     Epicor Software Corporation
                                  2 006359                                  10/25/2016 17:20     $ 10,008.00    Epicor Software Corporation
Federal Express Corporation                           31311.14        services                                  PO Box 223125                   Pittsburgh   PA       15251
                                  2 ACHFedex10272016A                        10/28/2016 9:19     $ 9,043.98     Federal Express Corporation
                                  5 FEDXCaponeCC10282016A                   10/31/2016 12:51     $ 10,762.20    Federal Express Corporation
                                  2 ACHFEDEX10142016A                       10/14/2016 13:49     $ 11,504.96    Federal Express Corporation
GreatAmerica Financial Services                       34725.52        other-software financing                  P.O Box 660831                  Dallas       TX       75266-0831
                                  1 ACHGRTAMR11232016A                       11/23/2016 0:00     $ 34,725.52    GreatAmerica Financial Services
ILM Stationers                                         9886.16        supplier                                  305 Raleigh Street, unit B      Wilmington   NC       910.383.1725
                                  1 002676                                  11/15/2016 13:11     $     985.64   ILM Stationers
                                  1 002692                                  11/23/2016 11:44     $   1,166.40   ILM Stationers
                                  2 006348                                  10/20/2016 15:59     $   1,166.40   ILM Stationers
                                  2 006363                                  10/27/2016 10:28     $   1,866.68   ILM Stationers
                                  1 002718                                   12/6/2016 11:45     $   2,332.80   ILM Stationers
                                  1 002744                                   12/15/2016 7:38     $   2,368.24   ILM Stationers
Insource                                            136458.18         supplier                                  Box 382023                      Pittsburgh   PA       15250-2028
                                  4 INSAMEX11172016A                         11/17/2016 0:00     $     12.43    Insource
                                  1 002747                                  12/15/2016 15:46     $     22.20    Insource
                                  1 002668                                   11/7/2016 10:08     $     27.91    Insource
                            Case 17-00203-5-JNC                      Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                          Page 55 of 68

                                   4   INSAMEX11112016A                     11/11/2016 0:00 $        31.25   Insource
                                   4   INSAMEX11152016A                       1/8/2017 21:55 $       34.90   Insource
                                   4   INSAMEX11302016A                     11/30/2016 0:00 $        39.26   Insource
                                   1   ACHINS12282016A                      12/28/2016 0:00 $        47.15   Insource
                                   1   002746                             12/15/2016 13:09 $         65.66   Insource
                                   2   006367                             10/31/2016 15:21 $        123.75   Insource
                                   4   INSAMEX11222016A                     11/22/2016 0:00 $       147.84   Insource
                                   4   INSAMEX10142016A                     10/14/2016 0:00 $       158.42   Insource
                                   4   INSAMEX10182016A                     10/18/2016 0:00 $       187.50   Insource
                                   4   INSAMEX11142016A                     11/14/2016 0:00 $     2,704.26   Insource
                                   4   INSAMEX11232016A                     11/23/2016 0:00 $     2,849.81   Insource
                                   4   INSAMEX11292016A                     11/25/2016 0:00 $     3,380.37   Insource
                                   2   006343                             10/20/2016 15:25 $      3,866.44   Insource
                                   2   006319                               10/13/2016 9:58 $     7,531.72   Insource
                                   4   INSAMEX11102016A                     11/30/2016 0:00 $     7,967.23   Insource
                                   1   002713                               12/1/2016 15:25 $     8,116.02   Insource
                                   1   002720                               12/8/2016 15:46 $     8,570.63   Insource
                                   1   002723                               12/9/2016 14:33 $    10,711.53   Insource
                                   2   ACHINSdraft11012016A                 11/2/2016 16:51 $    10,711.53   Insource
                                   2   006357                             10/25/2016 15:20 $     10,758.30   Insource
                                   1   002683                             11/18/2016 10:28 $     11,413.52   Insource
                                   1   002766                               12/22/2016 0:00 $    12,898.14   Insource
                                   2   006375                               11/2/2016 16:57 $    17,014.74   Insource
                                   1   002729                             12/13/2016 16:21 $     17,065.67   Insource
Magellan Diagnostics                                          7650   supplier                                75 Remittance Drive,Dept 6611 Chicago      IL       60675
                                     2 006329                             10/13/2016 17:49 $      1,939.00   Magellan Diagnostics
                                     1 ACHMagellan12052016A                   12/5/2016 0:00 $    2,051.00   Magellan Diagnostics
                                     4 AmexMagelllan1042016A                   1/4/2017 9:47 $    3,660.00   Magellan Diagnostics
Mammoth Medical                                            8964.86   supplier                                PO Box 1000, Dept #395        Memphis      Tn       38148
                                     1 002693                             11/28/2016 14:30 $        716.40   Mammoth Medical
                                     9 AChMammoth11112017A                  1/11/2017 14:20 $     3,256.51   Mammoth Medical
                                     1 002680                             11/18/2016 10:16 $      4,991.95   Mammoth Medical
MedChain Supply Division of NDC                            7137.97   supplier                                PO Box 842818                 Boston       MA       02284-2818
                                     1 002759                             12/21/2016 16:54 $         64.33   MedChain Supply Division of NDC
                                     1 002670                               11/7/2016 11:13 $        68.50   MedChain Supply Division of NDC
                                     1 002758                             12/21/2016 16:06 $        231.41   MedChain Supply Division of NDC
                                     2 006369                               11/2/2016 11:55 $       427.30   MedChain Supply Division of NDC
                                     1 002712                             11/30/2016 17:06 $        442.50   MedChain Supply Division of NDC
                                     1 002685                             11/18/2016 12:54 $        476.95   MedChain Supply Division of NDC
                                     2 006350                             10/20/2016 16:25 $      1,134.13   MedChain Supply Division of NDC
                                     1 002741                             12/14/2016 15:39 $      1,288.50   MedChain Supply Division of NDC
                                     2 006333                             10/14/2016 11:17 $      1,395.33   MedChain Supply Division of NDC
                                     2 006370                               11/2/2016 11:56 $     1,609.02   MedChain Supply Division of NDC
Medworld Supply, Inc.                                     20338.21   supplier                                168 10th Street               Brroklyn     NY       11215
                                     2 006327                             10/13/2016 17:18 $        244.66   Medworld Supply, Inc.
                                     1 002678                             11/17/2016 15:22 $      1,413.49   Medworld Supply, Inc.
                                     1 002740                             12/14/2016 15:38 $      2,592.50   Medworld Supply, Inc.
                                     4 MedworAmex11062016A                  11/18/2016 0:00 $     2,700.66   Medworld Supply, Inc.
                                     1 002772                             12/29/2016 19:49 $      2,931.11   Medworld Supply, Inc.
                                     2 006378                               11/9/2016 14:56 $     5,116.08   Medworld Supply, Inc.
                                     1 002715                               12/2/2016 13:59 $     5,339.71   Medworld Supply, Inc.
Midmark Corporation                                        7575.69   supplier                                PO Box 842268                 Boston       MA       02284-2268
                                     2 ACHMidmark10242016A                10/24/2016 17:54 $      3,164.01   Midmark Corporation
                                     1 002783                                 1/6/2017 12:53 $    4,411.68   Midmark Corporation
NC State Employees Credit Union /Read P                   25959.31   other-supplies&expenses                 3500 Converse Drive           Wilmington   NC       28403
                                     1 002703                             11/30/2016 14:29 $      6,500.00   NC State Employees Credit Union
                                     2 006324                             10/13/2016 16:16 $      9,518.18   NC State Employees Credit Union
                                     1 002738                             12/14/2016 15:17 $      9,941.13   NC State Employees Credit Union
                              Case 17-00203-5-JNC                       Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                          Page 56 of 68

NDC, Inc.                                                    311789.2 supplier                                  407 New Sanford Road          LaVergne     tn       37086
                                       1   002674                          11/11/2016 16:51     $        1.00   NDC, Inc.
                                       2   006321                          10/13/2016 15:50     $        7.36   NDC, Inc.
                                       2   006345                          10/20/2016 15:30     $       15.75   NDC, Inc.
                                       1   002663                            11/4/2016 13:17    $      117.43   NDC, Inc.
                                       1   003007M                           1/10/2017 16:57    $      292.50   NDC, Inc.
                                       2   006362                            10/24/2016 0:00    $      881.15   NDC, Inc.
                                       1   002725                            12/9/2016 16:46    $    1,096.26   NDC, Inc.
                                       2   006379                            11/9/2016 15:08    $    1,237.25   NDC, Inc.
                                       1   002671                            11/7/2016 17:41    $    1,549.02   NDC, Inc.
                                       2   006349                          10/20/2016 16:22     $    1,630.36   NDC, Inc.
                                       2   006368                            11/2/2016 11:49    $    2,092.24   NDC, Inc.
                                       1   002711                          11/30/2016 16:42     $    2,263.39   NDC, Inc.
                                       1   002735                          12/14/2016 15:00     $    2,353.99   NDC, Inc.
                                       1   002732                          12/13/2016 17:45     $    4,159.27   NDC, Inc.
                                       2   006317                          10/12/2016 15:17     $    4,435.55   NDC, Inc.
                                       9   003002                              1/4/2017 17:57   $    5,195.33   NDC, Inc.
                                       1   002731                          12/13/2016 17:01     $   12,131.69   NDC, Inc.
                                       1   002684                          11/18/2016 11:43     $   14,033.26   NDC, Inc.
                                       1   002722                            12/9/2016 14:31    $   19,989.00   NDC, Inc.
                                       9   003009                            1/11/2017 15:20    $   20,446.33   NDC, Inc.
                                       1   002764                          12/21/2016 18:13     $   21,127.59   NDC, Inc.
                                       1   002709                          11/30/2016 16:24     $   22,619.30   NDC, Inc.
                                       9   003001                              1/4/2017 17:51   $   23,120.66   NDC, Inc.
                                       2   006364                          10/27/2016 12:34     $   23,801.94   NDC, Inc.
                                       1   002662M                           11/4/2016 13:15    $   24,001.57   NDC, Inc.
                                       2   006380                            11/9/2016 15:00    $   24,152.74   NDC, Inc.
                                       1   002667                            11/4/2016 16:19    $   24,652.26   NDC, Inc.
                                       1   002761                          12/21/2016 17:34     $   27,154.98   NDC, Inc.
                                       2   006344                          10/20/2016 15:26     $   27,230.03   NDC, Inc.
North Carolina Department of Revenue                         20731.37 State Sales Tax                           3340 Jaeckle Drive Suie 202   Wilmington   NC       28403
                                       1   ACHNCDOR12152016A               12/22/2016 17:04     $    1,200.00 North Carolina Department of Revenue
                                       1   ACHNCDOR11222016A                 11/22/2016 0:00    $    9,585.61 North Carolina Department of Revenue
                                       2   ACHNCTAX10252016A                 10/25/2016 0:00    $    9,945.76 North Carolina Department of Revenue
Seacoast Medical                                            174965.02 supplier                                13308 Chandler Road           Omaha          NE       68138
                                       4   SCMAmexFee12-29-2016A           12/29/2016 20:34     $      327.65 Seacoast Medical
                                       4   SCMAmexCC11112016A                11/11/2016 0:00    $      387.80 Seacoast Medical
                                       4   SCMamex 1042017A                     1/4/2017 0:00   $      407.91 Seacoast Medical
                                       2   006361                          10/26/2016 13:18     $    2,332.09 Seacoast Medical
                                       1   002710                          11/30/2016 14:33     $    4,121.84 Seacoast Medical
                                       2   006342                          10/19/2016 17:34     $    8,774.24 Seacoast Medical
                                       1   002701                            11/23/2016 0:00    $    9,228.16 Seacoast Medical
                                       1   002757                          12/21/2016 15:27     $    9,334.06 Seacoast Medical
                                       1   002739                          12/14/2016 15:20     $   10,424.29 Seacoast Medical
                                       4   SCMAmex12-29-2016A                12/29/2016 0:00    $   10,921.75 Seacoast Medical
                                       4   SCMAMEX11112016A                11/11/2016 16:26     $   12,926.89 Seacoast Medical
                                       4   SCMCLS01042017A                     1/9/2017 14:51   $   13,097.21 Seacoast Medical
                                       4   SCMAMEX01042017A                     1/4/2017 0:00   $   13,597.14 Seacoast Medical
                                       1   002679                          11/17/2016 17:28     $   14,055.82 Seacoast Medical
                                       1   002721                            12/8/2016 16:02    $   14,612.70 Seacoast Medical
                                       9   003010                            1/11/2017 16:40    $   14,886.48 Seacoast Medical
                                       2   006374                            11/2/2016 15:30    $   16,115.58 Seacoast Medical
                                       2   006326                          10/13/2016 16:34     $   19,413.41 Seacoast Medical
Smiths Medical ASD, Inc.                                     51580.31 supplier                                5200 Upper Metro Place        Dulin          OH       43017
                                       2   006337                          10/14/2016 13:38     $      969.50 Smiths Medical ASD, Inc.
                                       1   002707                          11/30/2016 15:52     $    1,685.00 Smiths Medical ASD, Inc.
                                       1   002682                          11/18/2016 10:18     $    2,081.50 Smiths Medical ASD, Inc.
                                       1   002708                          11/30/2016 15:57     $    2,507.15 Smiths Medical ASD, Inc.
                                Case 17-00203-5-JNC                         Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                             Page 57 of 68

                                          1   002706                              11/30/2016 14:32 $ 2,656.98     Smiths Medical ASD, Inc.
                                          2   006328                              10/13/2016 17:18 $ 2,656.98     Smiths Medical ASD, Inc.
                                          2   006346                              10/20/2016 15:32 $ 2,656.98     Smiths Medical ASD, Inc.
                                          1   002681                              11/18/2016 10:17 $ 2,657.02     Smiths Medical ASD, Inc.
                                          2   006334                              10/14/2016 11:24 $ 2,752.25     Smiths Medical ASD, Inc.
                                          4   SmithsQMEX01042017A                    1/9/2017 14:30 $ 2,850.66    Smiths Medical ASD, Inc.
                                          1   002673                               11/9/2016 10:39 $ 3,923.98     Smiths Medical ASD, Inc.
                                          4   SmithsAmex12312016A                  12/31/2016 0:00 $ 5,223.69     Smiths Medical ASD, Inc.
                                          1   002664                               11/4/2016 13:41 $ 8,815.71     Smiths Medical ASD, Inc.
                                          1   002736                              12/14/2016 15:10 $ 10,142.91    Smiths Medical ASD, Inc.
Sound Medical                                                    24752.11   services-expenses misc vendors
                                          1   ACHATMFee12162016A                  12/17/2016 11:53 $       3.00   Sound Medical
                                          4   AdobeAmex11072016A                     11/7/2016 0:00 $     16.04   Sound Medical
                                          4   AdobeAmex11132016A                   11/13/2016 0:00 $      16.04   Sound Medical
                                          1   ACHBLkTires12092016A                   12/9/2016 0:00 $     30.00   Sound Medical
                                          1   ACHHArland11032016A                    11/3/2016 0:00 $     38.34   Sound Medical
                                          5   DropboxCLS11112016A                  11/11/2016 0:00 $      99.00   Sound Medical
                                          4   PanterAMEXCC10182016A                10/28/2016 0:00 $    425.72    Sound Medical
                                          4   PantherAmex11152016A                 11/15/2016 0:00 $    425.72    Sound Medical
                                          1   ACHAmerAir12132016A                 12/15/2016 20:56 $    438.20    Sound Medical
                                          1   002756                              12/20/2016 12:50 $ 2,100.00     Sound Medical
                                          1   002666                               11/4/2016 14:29 $ 3,683.98     Sound Medical
                                          2   006382                               11/9/2016 17:13 $ 3,756.07     Sound Medical
                                          2   006358                              10/25/2016 15:36 $ 5,000.00     Sound Medical/Atty:
                                          4   LakeHousAMEX11222016A                11/22/2016 0:00 $ 8,720.00     Sound Medical
TN Department of Revenue                                         27971.81   State Sales Tax                       Tennessee Depart of Revenue Andrew Jackson  Nashville        TN
                                          2   006365                               10/26/2016 0:00 $ 3,400.00     TN Department of Revenue
                                          2   ACHTNDOR10172016A                    10/17/2016 0:00 $ 3,484.66     TN Department of Revenue
                                          2   ACHTNDOR11012016A                      11/1/2016 0:00 $ 3,500.00    TN Department of Revenue
                                          4   TNDORAMEX11142016A                   11/14/2016 0:00 $ 3,587.15     TN Department of Revenue
                                          1   ACHTNDOR11222016A                    11/22/2016 0:00 $ 7,000.00     TN Department of Revenue
                                          1   ACHTNDOR12022016A                      12/2/2016 0:00 $ 7,000.00    TN Department of Revenue
Toyota (closed) Financial Services                                31000.6   other-equipment loans                 Dept 2431                       Carol Stream      IL         60132-2431
                                          1   ACHTOYFORKLIFTA                      11/18/2016 0:00 $ 3,772.23     Toyota (closed) Financial Services
                                          1   ToyotaOP#2PayoffA                    11/18/2016 0:00 $ 4,713.73     Toyota (closed) Financial Services
                                          1   ACHToyotaRack#2A                     11/18/2016 0:00 $ 4,848.69     Toyota (closed) Financial Services
                                          1   ACHToyotaOP#1A                       11/18/2016 0:00 $ 5,396.38     Toyota (closed) Financial Services
                                          1   ACHToyotaLoanPmtA                    11/22/2016 0:00 $ 5,959.32     Toyota (closed) Financial Services
                                          1   ACHToyotaLoanPayoffA                   12/4/2016 0:03 $ 6,310.25    Toyota (closed) Financial Services
US Diagnostics                                                   13108.53   supplier                              2 parade Str                    Huntsville        AL         35806
                                          1   002714                               12/2/2016 13:55 $ 5,736.55     US Diagnostics
                                          1   002672                                 11/9/2016 7:57 $ 7,371.98    US Diagnostics                             122022    7371.98 First Citizens Bank

MCAs
Platinum                                                         48571.38   unsecured loan repaym   Sound Medica see General Journal Sheets      Alyssia Bartone    348 RXR PlaUniondale
Capacity                                                         94341.06   unsecured loan repaym     CAP1556 see General Journal Sheets         Eric H Keiter      7 RenaissanWhite Plains
EBF                                                              45748.41   unsecured loan repaym   Closed-sound see General Journal Sheets      Everest Business 201NW 107Miami
Knight                                                          229679.19   unsecured loan repaym   Closed-206806see General Journal Sheets      Knight Captial Fun9 East LookDover
Windset                                                          32694.61   unsecured loan repaym   Closed-contracsee General Journal Sheets     Windset Captial C 4168 West Riverton
Webbank                                                          66264.11   unsecured loan repaym   Closed-281802see General Journal Sheets
Capacity
ABL Lender
Sterling                                                      1081324.13 secured debt               Closed        see General Journal Sheets
Capacity
Columbus properties/First Citizens Bank                            10300 other-rent
                                          1 002687                            11/18/2016 16:06 $        5,150.00 Sound Medical                             100224        5150 First Citizens Bank
                                          2 006338                            10/14/2016 13:43 $        5,150.00 Sound Medical                             100224        5150 South State Bank
                  Case 17-00203-5-JNC          Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                  Page 58 of 68



Exhibit B
SFA - Q.4 & Q. 30
Payments made to insiders-Read Patterson
                                                                                    Loan             AP-Exp/
      check_no           check_date           amt       bank_name   Payroll       Repaymt            Repaymt     Acc'd wage repay.
003934                   2/2/2015 12:04   $ 2,751.42    SSB-3790
004000                  2/27/2015 11:10   $ 2,650.16    SSB-3790
004075                  3/23/2015 12:46   $ 5,030.04    SSB-3790
004111                   4/2/2015 11:11   $ 3,393.57    SSB-3790
004133                   4/16/2015 7:37   $ 5,000.00    SSB-3790
004188                  4/22/2015 13:50   $ 5,888.82    SSB-3790
004243                   5/5/2015 10:23   $ 1,742.74    SSB-3790
004244                   5/7/2015 14:58   $    980.51   SSB-3790
004316                   6/1/2015 12:26   $ 3,880.44    SSB-3790
004376                   6/4/2015 15:17   $ 2,000.00    SSB-3790
004650                   7/7/2015 12:28   $ 3,934.27    SSB-3790
004805                  7/31/2015 14:09   $ 16,079.80   SSB-3790
004817                   8/4/2015 11:32   $ 3,254.61    SSB-3790
005010                    9/1/2015 9:39   $ 2,255.18    SSB-3790
005036                  9/17/2015 15:34   $ 2,500.00    SSB-3790                                 $ 2,500.00
005159                  9/30/2015 14:45   $ 1,702.80    SSB-3790                                 $ 1,702.80
100615072841             10/6/2015 7:26   $       -     SSB-3790
005352                  11/2/2015 12:32   $ 1,719.92    SSB-3790                                 $    1,719.92
005460                 11/30/2015 12:54   $ 2,102.03    SSB-3790                                 $    2,102.03
005588                  1/29/2016 14:45   $ 7,701.06    SSB-3790                                 $    7,701.06
005664                   2/8/2016 17:40   $ 1,527.89    SSB-3790                                 $    1,527.89
005699                   3/3/2016 10:35   $    259.86   SSB-3790                                 $      259.86
005733                  3/14/2016 14:38   $    800.00   SSB-3790                                 $      800.00
005813                    4/4/2016 8:49   $    122.26   SSB-3790                                 $      122.26
RP ATM-ADV 4/11/16A      4/11/2016 0:00   $    500.00   SSB-3790                                 $      500.00
005862                   4/29/2016 0:00   $ 5,600.00    SSB-3790    $ 4,400.00    $   1,200.00
005863                   4/29/2016 0:00   $    800.00   SSB-3790    $   800.00
005864                   4/29/2016 0:00   $ 3,600.00    SSB-3790    $ 3,600.00
005872                   5/5/2016 10:18   $ 6,000.00    SSB-3790    $ 1,200.00    $ 3,800.00
005881                  5/11/2016 14:52   $ 14,531.97   SSB-3790                  $ 14,531.97
005901                  5/26/2016 12:59   $ 6,000.00    SSB-3790                                 $ 6,000.00
005902                  5/26/2016 13:00   $ 11,000.00   SSB-3790    $ 10,000.00                  $ 1,000.00
                 Case 17-00203-5-JNC        Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38              Page 59 of 68



005927                6/8/2016 15:35   $ 10,000.00   SSB-3790   $ 10,000.00
005934               6/13/2016 14:13   $ 5,000.00    SSB-3790                 $ 5,000.00     $ 5,000.00
005943               6/15/2016 13:23   $ 5,975.34    SSB-3790                 $ 5,975.34
005986               6/30/2016 14:44   $ 17,849.95   SSB-3790                 $ 17,849.95
ACHCashADv71816A      7/18/2016 0:00   $    600.00   SSB-3790                 $    600.00
006037               7/25/2016 14:44   $ 1,726.37    SSB-3790                 $ 1,726.37
006065                7/31/2016 0:00   $ 10,000.00   SSB-3790   $ 10,000.00
006066                7/31/2016 0:00   $ 6,500.00    SSB-3790                 $   6,500.00
006120               8/16/2016 14:52   $ 4,000.00    SSB-3790                 $   4,000.00
006188                8/31/2016 0:00   $ 10,000.00   SSB-3790   $ 10,000.00
006189                9/2/2016 11:11   $ 6,500.00    SSB-3790                 $   6,500.00
006190                9/2/2016 11:12   $ 1,500.00    SSB-3790                                $ 1,500.00
ACHRPMEDCOR 097201     9/8/2016 9:59   $    300.00   SSB-3790                                $   300.00
ACHMedcor2 9072016A   9/8/2016 10:06   $    500.00   SSB-3790                                $   500.00
ACHCashATM09262016A 9/26/2016 0:00     $    500.00   SSB-3790                                $   500.00
ACHCASHATM10062016 10/6/2016 10:50     $    500.00   SSB-3790                                $   500.00
006307               10/7/2016 12:21   $ 1,500.00    SSB-3790                                $ 1,500.00
006308               10/7/2016 12:22   $ 6,700.00    SSB-3790                 $   5,000.00   $ 1,700.00
006309               10/7/2016 12:22   $ 4,000.00    SSB-3790                 $   4,000.00
101316102901        10/13/2016 10:25   $       -     SSB-3790
006323              10/13/2016 16:10   $ 4,000.00    SSB-3790                 $   4,000.00
ACHRPCashAdv1017201 10/17/2016 0:00    $    600.00   SSB-3790                                $    500.00
006353              10/24/2016 15:49   $ 3,000.00    SSB-3790   $ 3,000.00
006371               10/31/2016 0:00   $ 6,500.00    SSB-3790   $ 6,500.00
006373               10/31/2016 0:00   $ 1,500.00    SSB-3790   $   500.00                   $ 1,000.00
110216130801         10/31/2016 0:00   $ 6,060.86    SSB-3790                                $ 6,060.86
111016133921         10/31/2016 0:00   $ 9,518.18    SSB-3790                                $ 9,518.18
002661               11/3/2016 15:58   $ 8,000.00    FCB-7620   $ 8,000.00
002705              11/30/2016 14:30   $ 3,550.00    FCB-7620   $ 2,000.00    $   1,550.00
002704              11/30/2016 14:30   $ 1,200.00    FCB-7620                                $   1,200.00
002703 - to NCSECU  11/30/2016 14:30   $ 6,500.00    FCB-7620                                $   6,500.00
ACHCashATM12082016A 12/8/2016 0:00     $    500.00   FCB-7620                                $     500.00
002727              12/12/2016 16:47   $ 1,262.88    FCB-7620                                $   1,262.88
002734               12/14/2016 9:59   $ 5,000.00    FCB-7620                                $   5,000.00
ACHBARCLAYCARDRPA 12/16/2016 0:00      $ 7,715.23    FCB-7620                                $   7,715.23
ACHCREDITONEBANKR 12/16/2016 0:00      $ 1,923.33    FCB-7620                                $   1,923.33
ATMCASHRP12162016A 12/17/2016 11:54    $    500.00   FCB-7620                                $     500.00
                     Case 17-00203-5-JNC           Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                  Page 60 of 68



ACHCAPITALONERP12- 12/19/2016 15:25 $      505.25 FCB-7620                                             $    505.25
002774                12/31/2016 10:23 $ 1,250.00 FCB-7620                                                           $            1,250.00
ACHRPPayroll 152017A    1/5/2017 16:44 $ 4,000.00 FCB-7620                $ 4,000.00
ACHRPPayroll 152017-A   1/5/2017 16:47 $ 8,000.00 FCB-7620                $ 8,000.00
002784                  1/6/2017 13:26 $ 8,000.00 FCB-7620                $ 8,000.00
002785                  1/6/2017 13:45 $ 1,853.75 FCB-7620                                             $ 1,853.75

TOTALS:                                                                   $ 90,000.00   $ 82,233.63    $ 81,475.30   $            1,250.00


In addition, payments have been made to creditors that D. Read Patterson, II guaranteed. See Schedule H for a list of creditors
  whose claims were guaranteed by D. Read Patterson, II.
         Case 17-00203-5-JNC                          Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                                       Page 61 of 68

                                                               United States Bankruptcy Court
                                               Eastern District of North Carolina - Wilmington Division
 In re      Sound Medical Supply Partners, LLC                                                                        Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Atlantic Coast Orthopaedic
 Medical Supplies, Inc.
 Attn: Manager or Agent
 6510 Northpark Blvd.
 Charlotte, NC 28216

 D. Read Patterson, II
 905 Twisted Oak Place
 Wilmington, NC 28405

 Wilmington Health, PLLC
 Attn: Manager or Agent
 1202 Medical Center Drive
 Wilmington, NC 28401


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the CEO and Managing Member of the corporation named as the debtor in this case, declare under penalty of
perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my
information and belief.



 Date January 13, 2017                                                       Signature /s/ D. Read Patterson, II
                                                                                            D. Read Patterson, II

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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         Case 17-00203-5-JNC                          Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                      Page 62 of 68




                                                               United States Bankruptcy Court
                                               Eastern District of North Carolina - Wilmington Division
 In re      Sound Medical Supply Partners, LLC                                                         Case No.
                                                                                Debtor(s)              Chapter       11




                                               VERIFICATION OF CREDITOR MATRIX


I, the CEO and Managing Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors

is true and correct to the best of my knowledge.




 Date:       January 13, 2017                                        /s/ D. Read Patterson, II
                                                                     D. Read Patterson, II/CEO and Managing Member
                                                                     Signer/Title




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       Case 17-00203-5-JNC    Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38   Page 63 of 68


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SOUND MEDICAL SUPPLY PARTNERS, TRAWICK
                               LLC     H. STUBBS, JR.                 SECURITIES & EXCHANGE COM
1930 OLEANDER DRIVE            STUBBS & PERDUE, P.A.                  OFFICE OF REORGANIZATION
WILMINGTON, NC 28403           PO BOX 1654                            950 E PACES FERRY RD NE 900
                               NEW BERN, NC 28563                     ATLANTA, GA 30326-1382


SECRETARY OF TREASURY               NC DEPT OF REVENUE                UNITED STATES ATTORNEY
ATTN: MANAGING AGENT                ATTN: MANAGING AGENT              ATTN: CIVIL PROCESS CLERK
1500 PENNSYLVANIA AVE NW            PO BOX 1168                       310 NEW BERN AVENUE
WASHINGTON, DC 20220                RALEIGH, NC 27602                 FEDERAL BLDG SUITE 800
                                                                      RALEIGH, NC 27601-1461

INTERNAL REVENUE SERVICE            IRS                               ATTORNEY GENERAL
ATTN: MANAGING AGENT                ALAMANCE BLDG MAIL STOP 24        950 PENNSYLVANIA AVENUE NW
PO BOX 7346                         4905 KOGER BLVD                   WASHINGTON, DC 20530
PHILADELPHIA, PA 19101-7346         GREENSBORO, NC 27407-2734


N.C. DEPT. OF COMMERCE, DES         ACCIDENT FUND                     ACCUTOME, INC.
ATTN: MANAGER OR AGENT              ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
P.O. BOX 26504                      P.O. BOX 40790                    3222 PHOENIXVILLE PIKE
RALEIGH, NC 27611                   LANSING, MI 48901-7990            MALVERN, PA 19355


ADENNA                              AKORN, INC.                       ALLIANCE TECH MEDICAL
ATTN: MANAGER OR AGENT              ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
201 SOUTH MAILLIKEN AVENUE          1924 WEST FIELD COURT             P.O. BOX 6024
ONTARIO, CA 91761                   LAKE FOREST, IL 60045             GRANBURY, TX 76049


ALLY FINANCIAL                      AMBU, INC.                        AMERICAN EXPRESS
ATTN: MANAGING AGENT                ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
P. O. BOX 380901                    P.O. BOX 347818                   P.O. BOX 981540
BLOOMINGTON, MN 55438               PITTSBURGH, PA 15251-4818         EL PASO, TX 79998-1540


AMERICOURCEBERGEN                   ANDOVER HEALTHCARE                ATLANTIC COAST ORTHOPAEDIC
ATTN: MANAGER OR AGENT              ATTN: MANAGER OR AGENT            MEDICAL SUPPLIES, INC.
P.O. BOX 503270                     9 FANARAS DRIVE                   ATTN: MANAGER OR AGENT
SAINT LOUIS, MO 63150-3270          SALISBURY, MA 01952               6510 NORTHPARK BLVD.
                                                                      CHARLOTTE, NC 28216

AVALON PAPERS, LLC                  BARD MEDICAL                      BEHALF CREDIT
ATTN: MANAGER OR AGENT              ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
P.O. BOX 3967                       P.O. BOX 75767                    126 5TH AVENUE
OSHKOSH, WI 54903-3967              CHARLOTTE, NC 28275               NEW YORK, NY 10011


BELL MEDICAL SERVICES               BIOLIFE, LLC                      BIONIX DEVELOPMENT CORP.
ATTN: MANAGER OR AGENT              ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
120 BENDERBURG                      8163 25TH COURT E                 5154 ENTERPRISE BLVD.
MARLBORO, NJ 07746                  SARASOTA, FL 34243                TOLEDO, OH 43612
     Case 17-00203-5-JNC      Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38   Page 64 of 68




BIOSEAL                             BLEDSOE BRACE SYSTEMS             BMW BANK OF NORTH AMERIC
ATTN: MANAGER OR AGENT              ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
167 WEST ORANGETHORPE AVE.          2601 PINEWOOD DRIVE               P.O. BOX 78066
PLACENTIA, CA 92870                 GRAND PRAIRIE, TX 75051           PHOENIX, AZ 85062-8066


BSN MEDICAL, INC.                   C-CORE MEDICAL                    CALGONATE CORP.
ATTN: MANAGER OR AGENT              ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
P.O. BOX 751766                     P.O. BOX 471492                   1391 NW ST. LUCIE WEST BLVD
CHARLOTTE, NC 28275-1766            LAKE MONROE, FL 32747             #303
                                                                      PORT SAINT LUCIE, FL 34986

CAPACITY FUNDING, LLC               CAPITAL ONE SPARK                 CAPITOL VIAL
ATTN: MANAGER OR AGENT              ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
7 RENAISSANCE SQ., 5TH FL.          P.O. BOX 71083                    2039 MCMILLAN STREET
WHITE PLAINS, NY 10601              CHARLOTTE, NC 28272-1083          AUBURN, AL 36832


CARDINAL HEALTH                     CHATTANOOGA GROUP                 CLARITY DIAGNOSTICS
ATTN: MANAGER OR AGENT              ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
P.O.BOX 730112                      1430 DECISION STREET              1060 HOLLAND DRIVE
DALLAS, TX 75373                    VISTA, CA 92081                   BOCA RATON, FL 33487


CLINTON INDUSTRIES, INC.            COLUMBIA POWER & WASHER SYS       COLUMBUS PROPERTIES, LLC
ATTN: MANAGER OR AGENT              ATTN: MANAGER OR AGENT            ATTN: DAVID SPRUNT
525 EAST MARKET STREET              P.O. BOX 379                      1201-B COLUMBUS CIRCLE
YORK, PA 17403                      COLUMBIA, TN 38402                WILMINGTON, NC 28403


COPIERS PLUS, INC.                  CORETEX PRODUCTS, INC.            DIXIE EMS SUPPLY
ATTN: MANAGER OR AGENT              ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
P.O. BOX 729                        FIRST GROWTH CAPITAL              10101 FOSTER AVE.
FAYETTEVILLE, NC 28302-0729         LOS ANGELES, CA 90051             BROOKLYN, NY 11236


DYNAREX CORPORATION                 ENCOMPASS GROUP /                 ENTHERMICS MEDICAL SYSTEM
ATTN: MANAGER OR AGENT              ALBAHEALTH                        ATTN: MANAGER OR AGENT
P.O. BOX 712454                     ATTN: MANAGER OR AGENT            W164 N9221 WATER STREET
CINCINNATI, OH 45201                CHARLOTTE, NC 28289               NEW HOLSTEIN, WI 53061


EPICOR SOFTWARE CORPORATION         ERGODYNE CORPORATION              FEDERAL EXPRESS CORPORATI
ATTN: MANAGER OR AGENT              ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
P.O. BOX 671069                     NW8521                            P.O. BOX 223125
DALLAS, TX 75267                    MINNEAPOLIS, MN 55485             PITTSBURGH, PA 15251


FERRIS MFG CORP.                    FISHER SCIENTIFIC COMPANY         GARLAND C. NORRIS COMPANY
ATTN: MANAGER OR AGENT              ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
P.O. BOX 732507                     P.O. BOX 404705                   P.O. BOX 28
DALLAS, TX 75373-2507               ATLANTA, GA 30384                 APEX, NC 27502
    Case 17-00203-5-JNC     Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38   Page 65 of 68




GAVIS PHARMACEUTICALS, LLC        GOFIT                             GRAHAM FIELD
ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
400 CAMPUS DRIVE                  12929 E. APACHE STREET            2935 NORTHEAST PARKWAY
SOMERSET, NJ 08873                TULSA, OK 74116                   ATLANTA, GA 30360


GRAPHIC CONTROLS                  HELENA LABORATORIES               HEMOSURE, INC.
D/B/A VERMED                      ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
ATTN: MANAGER OR AGENT            1530 LINDBERGH DRIVE              5358 IRWINDALE AVENUE
P.O. BOX 1271                     BEAUMONT, TX 77704-0752           BALDWIN PARK, CA 91706
BUFFALO, NY 14204

HENRY SCHEIN, INC.                HILCO / I-PROMOTIONS              HILEX POLY CO., LLC
C/B/A INSOURCE                    ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
ATTN: MANAGER OR AGENT            9522 GRAVOIS ROAD                 DEPT. 720048
DEPT CH 10560                     SAINT LOUIS, MO 63123             P.O. BOX 1335
PALATINE, IL 60055                                                  CHARLOTTE, NC 28201

HOSPIRA                           HUB PHARMACEUTICALS, LLC          HURRICANE MEDICAL, INC.
ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
75 REMITTANCE DRIVE               9339 CHARLES SMITH AVE.           5315 LENA ROAD
CHICAGO, IL 60675                 RANCHO CUCAMONGA, CA 91730        BRADENTON, FL 34211


INDEPENDENT PHARMA                INFECTION CONTROL TECH.           INSOURCE
ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
854 E. CRESCENTVILLE ROAD         P.O. BOX 160526                   BOX 382023
CINCINNATI, OH 45246              CLEARFIELD, UT 84016              PITTSBURGH, PA 15250-2028


INTERNAL REVENUE SERVICE          J&M SUPPLY                        JANT PHARMACAL CORP.
ALAMANCE BLDG MAIL STOP 24        ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
4905 KOGER BLVD STE 102           2406 HIGHLAND AVENUE              16530 VENTURA BLVD. #512
GREENSBORO, NC 27407              COLUMBIA, TN 38401                ENCINO, CA 91436


JOHNSON MORGAN AND WHITE          KINGS CASH GROUP                  LAGASSE, INC.
ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
6800 BROKEN SOUND PARKWAY         30 BROAD STREET, 12TH FLOOR       P.O. BOX 532670
BOCA RATON, FL 33487              NEW YORK, NY 10001                ATLANTA, GA 30353


LEAF FINANCIAL                    MAMMOTH MEDICAL                   MEDCHAIN SUPPLY
ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
2005 MARKET STREET, 14TH FL.      P.O. BOX 1000, SEPT #395          P.O. BOX 842818
PHILADELPHIA, PA 19103            MEMPHIS, TN 38148                 BOSTON, MA 02284-2818


MEDI NUCLEAR                      MEDICAL ID SOLUTIONS              MEDICAL PRODUCTS, INC.
ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
3365 MOMENTUM PLACE               6325 MCCOY ROAD                   P.O. BOX 207
CHICAGO, IL 60689                 ORLANDO, FL 32822                 PINEY CREEK, NC 28663
    Case 17-00203-5-JNC     Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38   Page 66 of 68




MEDIQUE PRODUCTS                  MEDLINE INDUSTRIES, INC.          MEDWORLD SUPPLY, INC.
ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
4159 SHORELINE DRIVE              BOX 382075                        168 10TH STREET
EARTH CITY, MO 63045              PITTSBURGH, PA 15251-8075         BROOKLYN, NY 11215


MERCHANT FUNDING SVCS., LLC       MERIDIAN MEDICAL TECHNOLOGIES     MICRO DIRECT
ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
ONE EVERTRUST PLAZE, STE 1401     6350 STEVENS FOREST ROAD          803 WEBSTER STREET
JERSEY CITY, NJ 07302             COLUMBIA, MD 21046                LEWISTON, ME 04240


MORTARA / BURDICK                 MSI PRECISION SPECIALTY           N.C. DEPT. OF REVENUE
ATTN: MANAGER OR AGENT            INSTRUMENTS                       ATTN: OFFICER
7865 NORTH 86TH STREET            ATTN: MANAGER OR AGENT            OFFICE SVCS DIV, BANKRUPTCYU
MILWAUKEE, WI 53224               1220 VALLEY FORGE RD,BLDG 34      P. O. BOX 1168
                                  PHOENIXVILLE, PA 19460            RALEIGH, NC 27602-1168

NATUS MEDICAL, INC.               NDC, INC.                         NEW HANOVER CO TAX COLL
ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT            ATTN: MANAGING AGENT
P.O. BOX 3604                     407 NEW SANFORD ROAD              PO BOX 18000
CAROL STREAM, IL 60132            LA VERGNE, TN 37086               WILMINGTON, NC 28406


NIKOMED USA, INC.                 NORTH COAST MEDICAL, INC.         O'REILLY AUTO PARTS
ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
2800 TURNPIKE DRIVE               8100 CAMINO ARROYO                P.O. BOX 1156
HATBORO, PA 19040                 GILROY, CA 95020                  SPRINGFIELD, MO 65801


OCCUNOMIX INTERNATIONAL, LLC      OFFICE DEPOT                      OMNIMED, INC.
ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
3447 SOLUTIONS CENTER             P.O. BOX 633211                   800 GLEN AVENUE
CHICAGO, IL 60677                 CINCINNATI, OH 45263              MOORESTOWN, NJ 08057


ONE BEAT CPR LEARNING CTR.        OPTP                              OVATION MEDICAL
ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
4350 OAKES ROAD                   3800 ANAPOLIS LN, STE 165         P.O. BOX 745846
FORT LAUDERDALE, FL 33314         MINNEAPOLIS, MN 55447             LOS ANGELES, CA 90074-5846


PARKER LABORATORIES, INC.         D. READ PATTERSON, II             PERSONNEL CONCEPTS, INC.
ATTN: MANAGER OR AGENT            905 TWISTED OAK PLACE             ATTN: MANAGER OR AGENT
286 ELDRIDGE ROAD                 WILMINGTON, NC 28405              P.O. BOX 5750
FAIRFIELD, NJ 07004                                                 CAROL STREAM, IL 60197-5750


PHILLIPS BURTON                   PHYSIO CONTROL                    PLATINUM RAPID FUNDING
ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT            GROUP, LTD.
21100 LASSEN STREET               11811 WILLOWS ROAD NE             ATTN: MANAGER OR AGENT
CHATSWORTH, CA 91311              REDMOND, WA 98052                 348 RXR PLAZA
                                                                    UNIONDALE, NY 11556
    Case 17-00203-5-JNC    Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38   Page 67 of 68




POWER SYSTEMS                    PREVENTIA SECURITY, LLC           PROPPER MFG. CO., INC.
ATTN: MANAGER OR AGENT           ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
5700 CASEY DRIVE                 P.O. BOX 1563                     36-04 SKILLMAN AVE.
KNOXVILLE, TN 37909              COLUMBIA, TN 38401                LONG ISLAND CITY, NY 11101


PSI COLLECTIONS                  PURITAN MEDICAL PRODUCTS          RETRACTABLE TECHNOLOGIES, IN
ATTN: MANAGER OR AGENT           ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
21214 SCHOFIELD DRIVE            31 SCHOOL STREET                  511 LOBO LANE
GRETNA, NE 68028                 GUILFORD, ME 04443                LITTLE ELM, TX 75068


S.P. RICHARDS COMPANY            SCIENTIFIC SALES, INC.            SENECA MEDICAL
ATTN: MANAGER OR AGENT           ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
P.O. BOX 1266                    130 VALLEY COURT                  P.O. BOX 636705
SMYRNA, GA 30081-1266            OAK RIDGE, TN 37830               CINCINNATI, OH 45263-6705


SHARE MOVING MEDIA, INC.         SHUTTLE SYSTEMS                   SUMMIT FINANCIAL RESOURCESLP
ATTN: MANAGER OR AGENT           ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
1735 N. BROWN ROAD, SUITE 140    4201 GUIDE MERIDIAN, STE 101A     2455 E. PARLEYS WAY
LAWRENCEVILLE, GA 30043          BELLINGHAM, WA 98226              STE 200
                                                                   SALT LAKE CITY, UT 84109

TELEFLEX MEDICAL INCORPORATED    TENNESSEE DEPT. OF REVENUE        TERMINIX CO OF NC
ATTN: MANAGER OR AGENT           ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
P.O. BOX 601608                  ANDREW JACKSON BLDG, FL 8         P.O. BOX 2587
CHARLOTTE, NC 28260              500 DEADERICK STREET              FAYETTEVILLE, NC 28302
                                 NASHVILLE, TN 37242

THE PALM TREE GROUP              THE PILLOW FACTORY                TRADEX
ATTN: MANAGER OR AGENT           ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
12701 DIRECTOR'S DR.             900 BUSCH PKWY                    P.O. BOX 75746
STAFFORD, TX 77477               BUFFALO GROVE, IL 60089           CLEVELAND, OH 44101-4755


TSI                              UPS                               US DIAGNOSTICS
ATTN: MANAGER OR AGENT           ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
500 CARDIGAN ROAD                P.O. BOX 7247-0244                P.O. BOX 5531
SAINT PAUL, MN 55126             PHILADELPHIA, PA 19170-0001       CAROL STREAM, IL 60197-5531


VE RALPH AND SON, INC.           WALLACH SURGICAL DEVICES, INC.    WILMINGTON HEALTH, PLLC
ATTN: MANAGER OR AGENT           ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
320 SCHUYLER AVE.                95 CORPORATE DRIVE                1202 MEDICAL CENTER DRIVE
KEARNY, NJ 07032                 TRUMBULL, CT 06611                WILMINGTON, NC 28401
         Case 17-00203-5-JNC                          Doc 1 Filed 01/13/17 Entered 01/13/17 16:40:38                       Page 68 of 68




                                                               United States Bankruptcy Court
                                               Eastern District of North Carolina - Wilmington Division
 In re      Sound Medical Supply Partners, LLC                                                          Case No.
                                                                                   Debtor(s)            Chapter       11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Sound Medical Supply Partners, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 January 13, 2017                                                    /s/ Trawick H. Stubbs, Jr.
 Date                                                                Trawick H. Stubbs, Jr.
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Sound Medical Supply Partners, LLC
                                                                     Stubbs & Perdue, P.A.
                                                                     PO Box 1654
                                                                     New Bern, NC 28563
                                                                     252-633-2700




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